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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
        Plaintiffs,                 )
                                    )        CIVIL ACTION NO.
        v.                          )          2:14cv601-MHT
                                    )               (WO)
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
        Defendants.                 )

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                         I.    INTRODUCTION

    As stated previously, this opinion is divided into

three parts.     This is the second part, which discusses

the ways in which conditions in ADOC facilities have

changed since the time of the liability opinion.
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        II. CHANGED CIRCUMSTANCES IN ADOC FACILITIES

      Before   addressing       the    PLRA      compliance     of     the

particular     remedial     provisions      that    the    court     will

impose, it is necessary to discuss where the conditions

of mental-health care in the ADOC system have changed or

improved    since     the   liability      trial    and    where      they

continue to fall short.        Certain aspects of the provision

of mental-health care in ADOC facilities are better than

they were at the time of the liability trial.                        Such

improvements do not necessarily categorically preclude

the need for remedies in those areas, but they do alter

the     appropriate    scope     of   relief      and   make    certain

provisions proposed by the plaintiffs unnecessary to

ensure     sustained     constitutional          compliance     by    the

department with regard to these issues.

      Other parts of ADOC’s mental-health care system have

not improved since the liability trial.                 To illustrate

these    continued     shortcomings,       the    court    will      first

discuss in detail the findings of the liability trial and
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then will proceed to discuss several recent suicides in

the ADOC system in which some of the problems that have

been ongoing since the time of the liability findings

played a role.         To be clear, not every problematic area

was a factor in each suicide.                    But while not every

prisoner experienced every problem, the problems are

systemic nonetheless.           The circumstances of these deaths

stand as examples of particularly serious failures in the

ADOC’s provision of mental-health care and demonstrate

the potential consequences of these inadequacies.

       Furthermore, while evidence was presented as to each

of     the   12    suicides     that       occurred   at     ADOC   between

September 2019 and the 2021 hearings, the court now

discusses only six of these suicides that show most

plainly where mental-health care at ADOC remains below

the     constitutional        floor,       although    all    12    reflect

deficiencies that warrant relief.               And finally, the court

keeps in mind that failures of mental-health care that

result in suicides are not the only serious lapses in

treatment.        Luck can be the difference between a suicide

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attempt and a completed suicide.                  It would be a morbid

kind of reactivity to find that inadequacies in the

ADOC’s mental-health care system require a remedy only

when they have resulted in death.



                   A. The Court’s Liability Findings

       In its liability opinion, the court identified a host

of     systemic      deficiencies         in   ADOC’s      provision         of

mental-health         care    to   inmates.        These    issues     were

interrelated:         failures at each step of the process of

identifying and treating inmates snowballed to produce a

mental-health         care     system      that     was    “horrendously

inadequate” when taken as a whole.                Braggs, 257 F. Supp.

3d 1171, 1267 (M.D. Ala. 2017) (Thompson, J.).                      And as

witnesses and experts from both sides acknowledged, these

issues were only exacerbated by the “two-headed monster”

of ADOC’s struggles with overcrowding and understaffing,

which presented a significant challenge to improving any

part of the system.           Id. at 1184.



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    ADOC’s failure to meet the minimum standard of care

required by the Constitution “start[ed] at the door,”

with an inadequate intake process for inmates entering

the department’s custody.         Id.    The court found that ADOC

relied on unsupervised licensed practical nurses (LPNs)

to conduct mental-health screening, despite the fact that

they lacked the training or qualifications to assess

inmates for symptoms of mental illness.              See id. at 1202.

This issue was “compounded by insufficient mental-health

staffing,” which led to some inmates being transferred

to other facilities without having received an intake

screening    at   all.      Id.   at    1203.      The   department’s

purported percentage of mentally ill prisoners--one of

the lowest in the country--was a clear reflection of the

deficiency of this process.            As the court concluded, it

was the result not of Alabama having fewer mentally ill

prisoners    than   other    systems     or   of   providing      better

mental-health care, but “because a substantial number--

likely thousands--of prisoners with mental illness” were

being missed at intake.           Id. at 1185.       Because of this

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failure       to   identify    inmates’       mental-health          needs,

seriously mentally ill prisoners were “languish[ing] and

decompensat[ing] in ADOC without treatment, ending up in

crisis care and engaging in destructive--sometimes fatal-

-self-harm.”        Id. at 1201.

       Even    when    inmates’      mental-health           needs     were

identified,        referrals   for       additional    follow-up       were

routinely ignored, leaving inmates without the treatment

they    needed.       The   court    found    that     ADOC’s    referral

process was “riddled with delays and inadequacies” at the

time of the liability opinion.              Id. at 1203.        Unlike in

“a functioning system,” ADOC lacked any mechanism for

triaging referrals and identifying the urgency of each

request, despite the issue being flagged for years in

internal audits.        Id.    As a result, there was no way to

ensure that even urgent requests would be processed in a

timely manner or actually referred to providers.                  See id.

Correctional       officers,    stretched       thin    by    inadequate

staffing, were “ill-positioned” to circumvent the broken

referral system by noticing inmates’ behavioral changes

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and getting them the help they needed.               Id. at 1203-04.

Indeed, inmates were so desperate to get the attention

of mental-health staff that they engaged in self-injury,

fire setting, suicide attempts, and other destructive

behavior.    See id. at 1204.

       ADOC also failed to properly classify and track those

with    mental-health     needs.       At    the   liability       trial,

multiple witnesses and experts testified about cases in

which    ADOC’s   coding     system     “fail[ed]      to   accurately

reflect    prisoners’     mental-health       needs.”        Id.      For

example, inmates who had been placed on suicide watch

repeatedly for self-harm and suicide attempts remained

coded as an MH-0, or an individual “not having any

mental-health treatment needs.”             Id. at 1205.      Lack of a

functioning classification system made it impossible for

the department to flag those in need of help and ensure

they received it.      As with failures at intake, the result

was that seriously mentally ill prisoners were left to

“languish and decompensate in ADOC without treatment.”

Id. at 1201.

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       Even   when   inmates     with    mental-health        needs   did

receive care, the court found that their treatment was

so deeply flawed as to be constitutionally inadequate.

Experts on both sides described treatment planning as

“the foundation of all forms of health care” because it

is necessary to ensure that treatment is consistent and

informed.     Id. at 1206.       The need for treatment plans is

heightened in prisons, where inmates have little ability

to manage their own care, and “even more crucial” in the

chaotic context of ADOC facilities.                  Id.    However, the

court found that ADOC provided only “‘cookie-cutter’

plans” that were not individualized to each prisoner’s

symptoms and needs, failed to account for changes in the

prisoner’s     mental-health         state,    and    did   not   reflect

changes in the prisoner’s treatment environment.                   Id. at

1207.     These plans were developed during “haphazardly”

run treatment-team meetings, where lack of attendance by

and    coordination        between   members    led    to    conflicting

treatment plans being signed into action within days of

each    other.       Id.      The    court    determined      that    this

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disorganized, pro forma treatment planning process failed

“to    provide    a    meaningful     and    consistent     course    of

treatment” that could actually help address inmates’

needs.       Id. at 1185.      As a result, ADOC provided less

effective care and ran a “substantial risk of prolonging

pain and suffering of those who have treatable mental

illnesses.”      Id. at 1206.

       The type of treatment that inmates received was no

less    inadequate.          The   court    concluded     that,   while

“[c]onstitutionally          adequate       mental-health     care    in

prisons requires more than simply providing psychotropic

medications to mentally ill prisoners,” ADOC had failed

to provide sufficient counseling or psychotherapy to

inmates with serious mental-health needs.                Id. at 1208.

Shortages in both mental-health and correctional staffing

undermined “the availability and quality of individual

and group counseling sessions.”              Id.

       As the court noted, at the time of the liability

opinion there were too few mental-health staff to care

for    the    number    of    prisoners      on    the   mental-health

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caseload, a problem that was only growing worse as the

caseload grew.        See id.       Staff members’ caseloads were

sometimes “twice as much as they should be”:                 Counselors

were expected to care for 80-90 inmates, while nurse

practitioners were expected to see 20-25 inmates per day.

See id.     As a result, providers were “continually getting

behind,” and counseling sessions would frequently be

canceled     or   delayed.      Id.      (internal   quotation      marks

omitted).     And when the sessions did occur, they “[did]

not amount to much.”         Id. at 1209.          Experts’ review of

medical     records      revealed     that      progress    notes     from

counseling sessions were cursory and vague, and they did

not    reflect     actual    clinical          judgments    or   overall

assessments of the patients.             Id.

      The   lack    of    adequate       correctional       staff     also

interfered with inmates’ treatment.               Because ADOC did not

have enough correctional officers to escort inmates to

counseling sessions and to provide security for those

sessions, care was frequently disrupted.                   Id. at 1185.

Providers     testified      that     not    being   allowed     to    see

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patients due to a lack of correctional staffing was a

“persistent problem” that had only gotten worse over the

years.      Id.   at    1210.      Inmates    in   segregation      were

particularly harmed by the staffing shortage, since they

had to be escorted from their cells by correctional

officers.    See id. at 1209.           As a result, “the frequency

of counseling sessions for those in segregation [was]

especially low.”        Id.

      While experts testified that group therapy could be

a helpful tool for the treatment of those receiving

inadequate individual therapy, the court concluded that

“ADOC’s     provision         of   group     therapy     [was]      also

inadequate.”      Id. at 1211.          Group therapy was equally

affected by the staffing shortages within the department,

leading sessions to be canceled or simply not to happen.

Id.   As a result, inmates in ADOC custody were left with

“little access to group therapy,” or indeed to treatment

of any kind.      Id.

      Workaround solutions adopted in the face of these

staffing shortages only compounded the inadequacy of

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care.        Mental-health        providers       testified     that,     when

inmates could not be escorted to counseling sessions,

they would sometimes “go to the cells themselves and

attempt to talk to their patients at the cell-front.”

Id.     at    1210.         But    as        experts   explained,        these

non-confidential “cell-front check-ins are insufficient

as counseling and do not constitute actual mental-health

treatment.”         Id.     Indeed, based on personal visits to

ADOC facilities, the court found that “[c]onducting a

counseling session across the door in these loud spaces

seemed nearly impossible.”               Id.

      The court further determined that ADOC consistently

failed       to   ensure    the   confidentiality         of    psychiatric

contacts,         which    “undermine[d]        the    effectiveness      and

quality of counseling sessions.”                   Id. at 1210.          While

expert witnesses testified that “confidentiality between

providers and patients is a hallmark of and a necessary

condition         for   mental-health         treatment,”      inmates   were

frequently receiving check-ins during which they could

be heard by correctional officers or other inmates.                        See

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id.    Even when sessions were not held cell-front, they

were not necessarily confidential. Many ADOC facilities,

the   court    found,   lacked     a    confidential      setting     for

treatment sessions altogether.           See id.      Other facilities

lacked offices with windows and doors that would have

allowed security without sacrificing confidentiality, so

correctional officers had to be stationed close enough

to overhear sessions.         See id.      As a result, prisoners

reported that they did not “feel safe sharing their

mental-health     issues,”      which    made    it    difficult      for

providers to provide useful counseling.                Id.

      Untrained   providers      presented      another      hurdle    to

adequate treatment of inmates.            When there were too few

mental-health staff to provide care, ADOC often relied

on “unsupervised, unlicensed counselors, referred to as

‘mental health professionals,’” to take their place.                  Id.

at 1211.      The court identified the lack of supervision

for these individuals as “a significant, system-wide

problem affecting the delivery of mental-health care,”



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which violated both state regulations and the standard

of care for mental-health patients.                Id.

      The   result    of     ADOC’s        inadequate     provision   of

psychotherapy was care that utterly failed to address the

needs of mentally ill inmates.             ADOC’s failure to provide

adequate treatment increased the “substantial risk of

serious harm” to inmates, “leaving them at a greater risk

for    continued      pain     and        suffering,      self-injurious

behavior,    suicidal        ideation,       and    ...    disciplinary

actions.”    Id. at 1212.

      These problems, the court found, became “even more

pronounced for prisoners in mental-health units, where

ADOC houses the most severely mentally ill prisoners in

its custody.”        Id.     Inmates in these units, the court

found, were “warehous[ed], rather than treat[ed].”                    Id.

at 1216.     Despite ADOC’s knowledge of these prisoners’

acute mental-health needs, it provided them “grossly

inadequate care,” housing these severely ill individuals

in units that operated “almost exactly the same way” as



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segregation, with minimal out-of-cell time and little

treatment.      Id. at 1212.

    Not only was ADOC operating these inpatient treatment

units under conditions comparable to segregation, it was

also using the units as extra segregation cells to house

inmates without mental-health needs.               This “persistent

and long-standing practice of placing segregation inmates

without    mental-health      needs     in   mental-health       units”

compromised the provision of treatment on those units by

creating a safety risk to the mentally ill inmates on the

unit,     by    diverting    the    attention       of    the    scarce

correctional officers, and by preventing programming from

taking place.        Id. at 1212-13.           Placing segregation

inmates in inpatient cells also contributed to a shortage

of such cells for prisoners who needed them.                See id. at

1213.

    The        “segregation-like        atmosphere”       of     ADOC’s

inpatient units and the gross inadequacy of the care

offered there was also caused by “a severe lack of

out-of-cell time” and the “lack of meaningful treatment

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activities.”      Id. at 1214.          As the court found, the

“careful    observation       and   treatment”       that    prisoners

needing    inpatient     care    require     “cannot     happen     when

confined in a small cell all day.                 In fact, without

out-of-cell     time    and     effective      treatment,       housing

severely mentally ill prisoners in a mental-health unit

is tantamount to ‘warehousing’ the mentally ill.”                    Id.

(quoting Wyatt v. Aderholt, 503 F.2d 1305, 1309 n.4 (5th

Cir. 1974)1).     Inmates housed in ADOC’s inpatient units

received “a vanishingly small amount of time outside

their cells”: 30 minutes of individual therapy and 2.5

hours of non-therapeutic group activity per week for

those housed in the men’s stabilization unit (SU) at

Bullock, and little more in the residential treatment

units (RTUs).     Id. at 1215.

    Along with minimal out-of-cell time, prisoners in

the inpatient units received “little treatment except for


    1. In Bonner v. City of Prichard, 661 F.2d 1206, 1209
(11th Cir. 1981) (en banc), the Eleventh Circuit Court
of Appeals adopted as binding precedent all of the
decisions of the former Fifth Circuit handed down prior
to the close of business on September 30, 1981.
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psychotropic medication due to staffing level shortages

of both treatment and custody staff.” Id. at 1214. Group

activities were often cancelled, and mental-health staff

were forced to man the laundry and showers instead of

providing mental-health care because there “were not

enough    correctional      officers      to    perform     those   basic

duties.”     Id. at 1216.       Individual psychiatric contacts

often had to be provided as cell-front check-ins because

there was insufficient correctional staff to be able to

take     inmates    out    of   their     cells,      “negat[ing]      the

therapeutic utility of these contacts” due to a lack of

confidentiality and resulting in “cursory” and “gravely

inadequate” psychiatric contacts.               Id.

       Finally,    ADOC     consistently         failed     to     provide

hospital-level care to inmates who needed it.                         When

ADOC’s     available      mental-health         interventions       proved

unsuccessful       to   stabilize    or       treat   a   prisoner,    the

department’s regulations required that the inmate be

considered    for       transfer    to    a    psychiatric       hospital.

Despite those regulations, the court found that “ADOC

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virtually    never      transfer[red]       patients   to    hospitals,

except in the case of prisoners nearing the end of their

sentence.”      Id. at 1217.         “As Dr. Burns put it, waiting

for an unstable patient’s end of sentence to transfer him

or her to a hospital is akin to ‘someone with chest pain

who has to wait until they’re released from prison to get

taken to a hospital to have the chest pain treated.’”

Id. at 1218.

    ADOC’s process for identifying inmates at risk of

suicide and providing “meaningful therapeutic contact to

alleviate       suicide      risk”    similarly    “suffer[ed]        from

serious deficiencies.”           Id. at 1218-19.     The department’s

approach     to       risk   assessment     was    “too     limited     to

adequately identify those at high risk,” and acutely

suicidal prisoners often did “not receive crisis care

because    of     a    severe    shortage    of    crisis    cells    and

staffing, and due to a culture of skepticism towards

threats of suicide.”            Id. at 1220.      ADOC’s crisis cells

were unsafe, containing tie-off points and dangerous

items that could be used for self-injury.                      See id.

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Suicidal prisoners received inadequate monitoring and

treatment, and inappropriate releases from suicide watch

and    a    lack   of   post-release     follow-up    care     “push[ed]

suicidal prisoners back into crises again and again.”

Id.

       At the time of the court’s liability opinion, ADOC

and its mental-health vendor had only recently begun

using a suicide risk-assessment tool--a tool that is

“widely       recognized     to    be    an    essential       part    of

mental-health       care”--during       prisoner     intake,    and   the

department continued not to perform such assessments when

prisoners threatened or engaged in self-harm or were

placed in crisis cells.             Id. at 1221.           Even acutely

suicidal       inmates     often   could      not    get    appropriate

intervention due to a lack of crisis cells. “[T]he number

of crisis cells in each of the 15 major facilities within

ADOC       [was]   insufficient,”       and   this    deficiency      was

exacerbated by backlogs for admission to the SU, causing

suicidal inmates to linger in crisis cells designed for

short-term placement.         Id. at 1222.     Without enough cells

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to provide crisis intervention to everyone who needed it,

ADOC would “gamble on which prisoners to put in [the

crisis cells] and frequently discount prisoners’ threats

of   self-harm    and    suicide.”       Id.       Staff      of   ADOC’s

mental-health         vendor     frequently         suggested        that

“prisoners who are claiming suicidality and self-harm

tendencies are in fact malingering or seeking ‘secondary

gains’--such as getting out of a segregation cell, or

getting away from an enemy, or debt problems.”                     Id. at

1223.      Despite      instructions      not      to    presume     that

expressions      of      suicidality        were        not    genuine,

mental-health staff “continued to write off prisoners’

threats of self-harm as motivated by inmate-to-inmate

debt or secondary gains, rather than conducting a proper

assessment.”     Id.

     The lack of crisis cells also resulted in acutely

suicidal inmates being placed in unsafe environments such

as shift offices or non-suicide watch cells.                  As experts

for both parties agreed, “housing a suicidal inmate in a

space like a shift office is quite dangerous: not only

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are these places full of items that can be used for

self-harm,    but,     depending    on    where    the    prisoner      is

placed,    such   placements       can    also    cut    off    suicidal

prisoners from the treatment that they desperately need.”

Id. at 1225.      For instance, one expert found an inmate

during    a   prison    tour     who     had     been    housed    in     a

mental-health office for more than a day without any

treatment or access to a bathroom.                See id. at 1225 &

n.49.     Moreover, even the crisis cells themselves were

unsafe; the court found that the cells were “ridden with

physical structures that provide easy opportunities to

commit suicide.”       Id. at 1226.      Despite the fact that the

overwhelming majority of recent suicides at ADOC had

happened by hanging, “many of ADOC’s crisis cells [had]

easily    accessible    tie-off     points,       such   as    sprinkler

heads,    hinges,      fixtures,        and    vents,    making     them

incredibly dangerous for suicidal prisoners.”                     Id. at

1227.    Certain features of the cells--such as grates over

the cell windows--also made it very difficult to see into

them, increasing the risk that suicide attempts in the

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cells would not be interrupted in time to save the

inmate’s life.      See id.

      Inmates     in    crisis      also        received      “woefully

inadequate” treatment and monitoring, exacerbating the

risk of harm.      Id. at 1229.         With respect to treatment,

inmates on suicide watch did not consistently receive

out-of-cell counseling appointments and were often kept

in crisis cells for extended periods of time. “As experts

on both sides agreed, crisis-cell placement is meant to

be temporary and should not last longer than 72 hours,

because the harsh effects of prolonged isolation in a

crisis cell can harm patients’ mental health.”                   Id. at

1226.       Nonetheless,     mental-health        staff    “considered

transferring prisoners in crisis to treatment units only

in    a   small   fraction    of   the    crisis    placements      that

last[ed] longer than 72 hours.”            Id.

      As for monitoring, prior to the liability trial, ADOC

had   not   conducted    constant       watch    even   for   the   most

acutely suicidal prisoners.              Failing to provide this

level of watch places those inmates at the highest risk

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of suicide in grave danger; “if a prisoner is waiting for

an opportunity to kill himself, it is too dangerous to

walk away, and he must be constantly observed.”                       Id. at

1229.     Instead, ADOC provided suicide watch checks at

15-minute      intervals.          But   while    these       checks    were

supposed       to   be    staggered      or   random     to    make     them

unpredictable to a prisoner who might be looking for a

chance    to    attempt     suicide,     experts     reviewing        ADOC’s

monitoring logs found that they often had “pre-filled

times    at    exact     intervals,”     making    it   “impossible       to

ensure that staggered checks are actually happening.”

Id.      This practice continued even after the parties

agreed to correct it and the court ordered compliance

with that agreement.          See id.

      Finally,      the    court     found    that      prisoners       were

routinely released from suicide watch improperly--that

is, without a face-to-face assessment by a psychiatric

provider--and that they received grievously inadequate

follow-up care.          Experts “observed multiple instances of

prisoners who were released directly from crisis cells

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back    into     segregation,    with       little     or    no    follow-up

treatment in subsequent weeks.”               Id. at 1231.         This led

to    “a   pattern    of    cycling       between    crisis       cells   and

segregation with little follow-up treatment after crisis

cell-release.”        Id.

       The court also found that “ADOC ha[d] an unacceptable

practice     of   disciplining        mentally      ill     prisoners     for

behavior that stems from their mental illnesses and doing

so     without     adequate     regard       for     the        disciplinary

sanctions’ impact on mental health.”                   Id.      Among other

problems, the court found that ADOC had a “common and

system-wide”       practice     of        “punishing        prisoners     for

engaging in self-harm.”           Id. at 1232.               This practice

persisted despite an ADOC regulation purporting to forbid

it.     See id.      Not only did this “fail[] to address the

underlying mental-health issues,” it also resulted in

segregation       placements    for        mentally       ill     prisoners,

further increasing the risk of harm.                 Id.

       This problem was exacerbated by ADOC’s failure to

consider         inmates’      mental-health           when        imposing

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disciplinary sanctions.              As the court found, failing to

do so is “dangerous because certain sanctions, such as

placement in segregation, expose mentally ill prisoners

to     a    substantial       risk    of    worsening            symptoms     and

significantly          reduced       access      to         monitoring        and

treatment.”           Id. at     1233.          At    the        time,     ADOC’s

regulations         required    consultation          with       mental-health

staff during disciplinary actions involving prisoners on

the mental-health caseload.                But, as the court found,

“the       system    [fell]    far     short     in        practice.”         Id.

Evaluators conducted superficial assessments, did not

understand that they were supposed to assess whether the

prisoner’s conduct was connected to mental illness, and

did    not    make    recommendations       about          how   the     inmate’s

mental health should be considered in the process or what

punishments         were   contraindicated           for    the    inmate    for

mental-health reasons.           See id. at 1233-34.              As a result,

these      consultations       operated    as    “little          more    than   a

rubber stamp” for the disciplinary process.                       Id. at 1234.

This       yielded     “frequently         egregious”            consequences:

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mentally ill prisoners who attempted to hurt or kill

themselves routinely received segregation placements as

punishment, further heightening their risk of self-harm

and   suicide.      Id.     Some     prisoners        “bounced    between

segregation units and suicide-watch cells over lengthy

periods of time” and were “never put on the mental-health

caseload despite repeated instances of self-harm.”                       Id.

at 1241.

      While there are “inherent psychological risks of

segregation,” particularly for people with serious mental

illness,   the    conditions     in     ADOC’s    segregation          units

compounded the risk of harm.             Id. at 1238.          Inmates in

segregation      experienced     a      “lack    of    any     meaningful

activity    or     social    contact”       due       to     non-existent

programming and minimal time out-of-cell; then-Associate

Commissioner Culliver testified that ADOC tries to give

inmates    in    restrictive    housing     five       hours     per    week

out-of-cell, “which means that even when ADOC officers

are able to meet their goal, prisoners spend on average

over 23 hours per day inside of a cell.”                   Id.    “[W]hen

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prisoners     remain       in    their      cells     around     the       clock,

mental-health staff have a harder time observing the

patient      and    diagnosing         illnesses       effectively,           and

correctional officers and fellow prisoners also lack

sufficient regular contact with the prisoner to notice

the onset of symptoms of mental illness.”                       Id. at 1239.

     Thus,     though       the    extreme          isolation         made    the

mental-health         needs       of        inmates        in    segregation

“considerably greater,” the court found that “due to

staffing      shortages,          mental-health            treatment          and

monitoring in segregation are gravely more limited than

in   general        population,        and      nonexistent           at     some

facilities.”         Id. at 1242.            Prisoners in segregation

lacked access to mental-health groups and therapeutic

activities and had minimal access to individual treatment

“because of ADOC’s failure to bring inmates out of their

segregation        cells   for    treatment”         due    to    a    lack    of

correctional staff.             Id. at 1243.         As in the inpatient

units, without enough correctional officers to provide

the security and escorts necessary to get inmates out of

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their cells, mental-health staff had to make do with

“cell-front     check-ins,        instead     of     actual     treatment

sessions”--brief,       non-confidential           interactions        that

“cannot replace individual counseling sessions.”                        Id.

Mental-health     rounds     in     segregation       were     even    more

“cursory”; one ADOC doctor described them as “drive-bys,”

often taking a minute or two per prisoner, and “sometimes

even without verbal exchanges.”             Id. at 1244.

    The lack of correctional staff also led to inadequate

monitoring of inmates in segregation.                Most troubling was

ADOC’s     failure     to    perform        monitoring        rounds    in

segregation every 30 minutes, “the level of monitoring

in segregation units necessary to keep prisoners safe

from self-harm and suicide.”               Id.     Plaintiffs’ expert

Vail “saw logs at ADOC that suggested that no segregation

checks were done for multiple hours.”                Id.    This lack of

adequate monitoring, combined with the lack of suicide

resistance of the segregation cells, created extremely

dangerous     conditions      for        prisoners     in     restrictive

housing.     See id. at 1244-45.             In that context, both

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parties’   experts       “were   alarmed    by    ADOC’s      systematic

overuse of segregation for mentally ill prisoners, who

are most vulnerable to the risk of deterioration in such

an isolated environment.”         Id. at 1242.

      The most acute risk of harm from these segregation

practices was felt by prisoners with a serious mental

illness: The court found “overwhelming[]” evidence that

this “subset of prisoners ... should never be placed in

segregation in the absence of extenuating circumstances.”

Id. at 1245-46.       As the then-Associate Commissioner of

Health Services testified, “placing seriously mentally

ill    prisoners      in     segregation         is     ‘categorically

inappropriate’ ... [and] is tantamount to ‘denial of

minimal medical care.’”            Id. at 1246.            The program

director   of     ADOC’s   mental-health      vendor     at     the   time

“agreed    with    the     bright-line     rule       against    placing

prisoners with serious mental illness ins segregation.”

Id.    The Associate Commissioner further testified that

ADOC’s then-new mental-health coding system, once fully

implemented, would ensure that “no seriously mentally ill

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inmate would be housed in a segregation setting.”                    Id.

(quoting Naglich Testimony at vol. 5, 67).                 But with a

lack of evidence at the time that ADOC had implemented

this bright-line policy of excluding inmates with serious

mental illness from segregation, the court found that “it

is categorically inappropriate to place prisoners with

serious mental illness in segregation absent extenuating

circumstances,”        and     that     “even      in     extenuating

circumstances, decisions regarding the placement should

be   with    the   involvement    and   approval     of   appropriate

mental-health staff, and the prisoners should be moved

out of segregation as soon as possible and have access

to treatment and monitoring in the meantime.”                    Id. at

1247.

     At the time of the liability trial and opinion, the

court also found “substantial evidence ... that ADOC

[was]   not    conducting    adequate     periodic      mental-health

assessments of prisoners in segregation to identify those

who become mentally ill while in segregation.”                   Id. at

1249.       After further briefing and argument from the

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parties,       the    court     issued      a    supplemental     liability

opinion finding that ADOC’s failure to conduct adequate

periodic mental-health evaluations of all prisoners in

segregation contributed to the Eighth Amendment violation

found in the original liability opinion.                   See Braggs, 367

F. Supp. 3d 1340, 1342 (M.D. Ala. 2019) (Thompson, J.).

The    court    found    that     these         periodic   evaluations       of

inmates both on and off the mental-health caseload “do

not occur with adequate frequency, and that even when

they do occur the evaluations are so cursory as not to

be worth the paper they are written on.”                      Id. at 1350.

It    concluded       that    these      periodic      assessments          were

“inadequate at identifying signs of psychological harm

and    decompensation,”          placing        both   mentally      ill    and

non-mentally ill inmates in segregation at substantial

risk of harm.         Id. at 1355.

     The   court     proceeds    now     to     discuss    several     of    the

suicides that have taken place in ADOC facilities since

the    court    issued    its     liability        opinion.       As   became

apparent during the course of the omnibus proceedings,

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many of the liability findings described above appear

again in the circumstances of these deaths, evidencing

continued problems in these areas.             Again, as the court

found, “persistent and severe” understaffing permeated

many of these deficiencies, Braggs, 257 F. Supp. 3d at

1268; as will be discussed below, understaffing continues

to impede the provision of adequate mental-health care

throughout the ADOC system.



                         B. Recent Suicides

                        1.    Laramie Avery

    Laramie Avery was 32 years old when he hanged himself

in the restrictive housing unit at Bullock Correctional

Facility on April 14, 2020.          He had been incarcerated in

the ADOC system for 15 months at the time and had never

been on ADOC’s mental-health caseload nor flagged as a

person with a serious mental illness (SMI).

    Avery     was    placed     in     restrictive      housing,      or

segregation, for the first time in February 2020.                During

his pre-placement mental-health screening, he appeared

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intoxicated and confused, and he told the screener that

he didn’t “have much to live for.” Pls. Ex. 3302 at

ADOC518578.       An urgent mental-health referral was made,

and he was designated as contraindicated for placement

in segregation.      See Pls. Ex. 3301 at ADOC518513.                    Avery

was placed in the restrictive housing unit despite the

contraindication.

     In   late     March,      Avery    was    referred          again        for

mental-health       services       after       asking          to      see      a

mental-health provider because of his “documented history

of mental illness.”            Id. at ADOC518504.              He was never

seen for this referral.                He was referred again for

mental-health services on April 11 and was not seen

before his death.

     At   9:28    a.m.    on   April    14,    Avery      was    discovered

hanging    from    the     ceiling      vent    of       his    cell     by     a

correctional officer during pill call.               See Pls. Ex. 3299

at   ADOC504208.         One   minute    later,      a    second       officer

arrived at the cell, and the cell door was opened.                            Two

minutes later, a doctor and two more officers arrived.

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At   that   point,   Avery    was    cut    down   and   placed    on     a

stretcher to be taken to the health care unit.                      Nine

minutes later, Avery arrived at the health care unit, and

CPR began.    Ten minutes after that, Avery was pronounced

dead.

     In total, 12 minutes passed between the time when

Avery was found hanging in his cell and the initiation

of CPR.      Two minutes passed between the arrival of a

second officer at the cell and the officers’ decision to

cut Avery down from where he hung.             Before cutting Avery

down, the officers took a photograph of him hanging from

the ceiling of his cell. See Pls. Ex. 3406 at ADOC572292.

At the time of Avery’s death, the stipulated remedial

order   related      to   suicide        prevention   required      that

“immediate life-saving measures shall be taken after

there are two (2) correctional officers present.”                 Order

(Doc. 2569) at 17.




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                        2.      Jaquel Alexander

      Jaquel Alexander hanged himself in his cell at the

Donaldson structured living unit (SLU) on May 17, 2020,

when he was 26 years old.             The SLU is a diversionary unit

for    inmates   with     serious       mental    illnesses    to    avoid

placing the inmates in segregation.

      Alexander had been in ADOC custody since 2016.                   It

appears from his records that he was first placed in a

restrictive housing unit in October 2019.                  He was placed

in restrictive housing again in December 2019, and he

acknowledged “considering self-harm or suicide” in a

pre-placement mental-health assessment.                    Pls. Ex. 3298

at    ADOC539034.       He      did   not   receive   a    suicide    risk

assessment or further evaluation.                See id.

      During that placement, he submitted a request to see

a mental-health provider because he was “having really

bad dreams of being killed and suicidal thoughts of

hurting myself.”          Id.     He was placed on acute suicide

watch on December 15 and found to be at high risk of

suicide.      He    was      discharged     from    suicide    watch    on

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December 23 but put back on watch on December 25 after

he told a mental-health provider during a restrictive

housing screening that he was feeling “depressed” and

“suicidal.”     Id. at ADOC539035.           He was released from

suicide watch again the next day.

      At this point, Alexander was not on the mental-health

caseload and was not flagged as having a serious mental

illness.   Despite the series of suicide watch placements

in December 2019, he did not receive a full mental-health

assessment and was not placed on the caseload.

      On January 2, 2020, a nursing progress note indicated

that Alexander had been “choked out” by his cell mate

while in a crisis cell at Fountain Correctional Facility.

Id.   He was transferred to Holman Correctional Facility

that day and placed again on suicide watch.                   The next

day, he was removed from suicide watch and sent back to

Fountain, where he was placed immediately in restrictive

housing.    At the time, both an agreed-upon court order

and ADOC policy prohibited moving inmates directly from

suicide watch to restrictive housing absent documented

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exceptional or exigent circumstances.                  See Order (Doc.

2569) at 16; Pls. Ex. 3180 (“Daniels Directive”).                      There

is     no   indication       in    Alexander’s       records      of    what

circumstances justified this placement.

       Alexander      was   moved     from    Fountain       to   Ventress

Correctional Facility on January 7; in a meeting with a

mental-health provider prior to the transfer, he was

“tearful” and said he “just need[ed] MH meds.”                    Pls. Ex.

3298 at ADOC539035.           He was put on suicide watch again

two days later after expressing suicidal thoughts during

a    screening     before     another     placement     in    restrictive

housing.       On January 15, during another pre-placement

screening before another restrictive housing placement,

he said he felt “sad, hopeless or depressed,” and he

acknowledged cutting his wrist.              Id.

       On January 23, Alexander was seen for the first time

for a psychiatric evaluation.                 He was diagnosed with

major depressive disorder, placed on the mental-health




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caseload with a code of MH-C,2 and flagged as having a

serious mental illness.           See id.      His records do not

indicate that he ever received a treatment-team meeting

or that a treatment plan was ever developed for him.

See May 24, 2021, R.D. Trial Tr. at 68-69.

    Alexander was placed on suicide watch twice more in

February and early March--in February after he expressed



    2. Since the time of the liability trial, ADOC has
created a coding system under which inmates are assigned
one of four lettered codes. See Joint Stipulation for
the Evidentiary Hearing Regarding the Phase 2A Remedial
Order (Doc. 3288) at 8. A code of A indicates that the
inmate is not on the mental-health caseload and is not
receiving ongoing mental-health services. A code of B
indicates   that    the   inmate   requires    outpatient
mental-health services at intervals of 90 to 120 days,
has demonstrated stable coping skills for a period of six
months or more, and can be housed in facilities that do
not provide daily on-site coverage by mental-health
staff. A code of C indicates that the inmate requires
outpatient mental-health services at intervals of 30 to
60 days, has a diagnosed mental disorder (excluding a
substance use disorder) currently associated with an
impairment in psychological, cognitive, or behavioral
functioning that substantially interferes with his or her
ability to meet the ordinary demands of living, and must
be housed in facilities that provide daily on-site
coverage by mental-health staff. A code of D indicates
that the inmate receives chronic or acute mental-health
services and requires placement in a designated
mental-health treatment unit.
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suicidality      during    a   screening     before     placement     in

segregation, and in March when he cut his wrist with a

razor.     See Pls. Ex. 3298 at ADOC539035-36.              On March 12,

he was again placed in restrictive housing after his

pre-placement screening mistakenly failed to note that

he   had   a    serious    mental    illness     and   was    therefore

contraindicated for segregation placement.                   See id. at

ADOC539036.      Six days later, he attempted to hang himself

with a towel in his segregation cell.              See id.

       These suicidal acts appeared to be connected to fears

of being hurt or killed by other inmates.                    During his

pre-placement screening on March 12, he said that he had

been    “getting    away    from    a    hit,”   and   in    subsequent

interactions with mental-health providers he said he had

“enemies all over this camp” and that he felt unsafe in

most of the general population dorms of Ventress.                    Id.

On March 29, he was placed again on constant suicide

watch after a pre-placement screening for restrictive

housing.       Throughout these suicide watch placements, he

was never referred for a higher level of mental-health

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care such as placement in a mental-health stabilization

unit.

    On April 8, 2020, Alexander tried to jump the fence

at Ventress.     He received a disciplinary infraction for

attempting to escape.        A mental-health consultation form

was provided to his disciplinary hearing officer, but the

form had an error code in the box indicating whether

Alexander was on the mental-health caseload.                  See Pls.

Ex. 3296 at ADOC517817.        The consultation form indicated

that there were no mental-health issues that needed to

be considered if Alexander was found guilty.                   See id.

Alexander was found guilty of the violation and sentenced

to 45 days in segregation.             See id. at ADOC517819.         He

remained in segregation for at least 22 days in spite of

his serious mental illness designation.

    On May 13, Alexander was moved from Ventress to

Donaldson and was placed in the Donaldson structured

living   unit.        His    transfer      documents      incorrectly

indicated that he did not have a serious mental illness.

See Pls. Ex. 3298 at ADOC539037.            He received a routine

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mental-health referral and was scheduled to meet with a

mental-health provider on May 15.             See Pls. Ex. 3297 at

ADOC518193.

    Early on the morning of May 16, he asked to be placed

in a crisis cell and received an urgent mental-health

referral.        See   id.    at    ADOC518191.          The    on-call

mental-health provider was not notified for more than 12
         3
hours.       See id.   Alexander met with a nurse instead of

the mental-health provider--with a correctional officer

present as well--and told the nurse that he was suicidal.



    3. Under the stipulated order then in effect, “An
emergent or urgent mental-health referral must be
communicated verbally, in person or by telephone, to the
mental-health staff as soon as possible, but in no case
longer than one (1) hour.” Phase 2A Order and Injunction
on Mental Health Identification and Classification
Remedy, Attachment A (Doc. 1821-1) at § 2.2.       If the
staff member who made the referral did not recognize the
referral as urgent and the referral was not recognized
as urgent until it was triaged, then it is possible that
the 12-hour delay before the referral was triaged and a
mental-health provider was subsequently notified would
not violate the stipulated order. But, if that was the
case, the court is concerned that an inmate “[r]equesting
to be placed in a crisis cell” could be understood, even
initially, to require only a routine referral. Pls. Ex.
3297 at ADOC518191.

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See    id.     at     ADOC518184.          The   nurse    called      the

mental-health         provider,     who,      without    speaking      to

Alexander at that time,4 told the nurse to have him

returned to his cell and said that she would check on him

in the morning.         See id.

      Alexander was sent back to his cell and was not

placed on suicide watch.           He hanged himself a few hours

later.   Per the psychological autopsy conducted by ADOC’s

mental-health         vendor    Wexford     Health   Sources,      “[a]n

opportunity for crisis intervention was missed on the day

prior to his death when an MHP [mental-health provider]

failed to follow suicide prevention protocol and place

the   inmate    in     crisis     housing.”      Pls.    Ex.   3298    at

ADOC539039.         There is no evidence that the mental-health

provider was disciplined for this failure or that any

other action was taken by the department to prevent such

failures from being repeated in the future.


    4. According to the note for this interaction, the
provider “verbalized that she spoke with inmate earlier
today.”    Id.; see also id. at ADOC518193 (routine
referral that resulted in an appointment scheduled for
the morning of May 15).
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                           3.    Casey Murphree

    The    day    after         Jaquel    Alexander’s          death,      Casey

Murphree, age 49, hanged himself in a restrictive housing

cell at Bullock Correctional Facility.                        He was on the

mental-health caseload at the time with a code of MH-B,

and he was flagged as having a serious mental illness due

to his bipolar disorder.

    Murphree had been incarcerated in ADOC since 1996.

For a period of time, he was coded MH-C, but his code was

changed    to     MH-B      in     April        2019.          Under    ADOC’s

mental-health coding system, MH-B and MH-C are the codes

reflecting      that   a    prisoner       is    on     the    mental-health

caseload and is receiving treatment on an outpatient

basis;    inmates      coded      MH-C    are    those        who   have    more

significant treatment needs and who therefore meet more

frequently      with   mental-health        providers.              Murphree’s

records indicate that he was re-classified to MH-B at his

request, not because of a change in his clinical needs



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but because he wanted to be able to get a job.5                  See Pls.

Ex. 3281 at ADOC518569.

       On    February      10,    2020,        Murphree    met    with       a

mental-health        provider     for     an    individual     counseling

session, which lasted 10 minutes.                 See Pls. Ex. 3280 at

ADOC518070.          The    provider      noted    that    Murphree      was

rambling, had “irrational thinking,” and was “somewhat

delusional.”         Id.    The plan articulated on Murphree’s

progress note from the counseling session was for the

provider to follow up with him within 30 days.                     See id.

There is no indication in Murphree’s records that he was

ever seen for this follow-up appointment.

       At about 6:35 a.m. on May 17, 2020, Murphree received

a     mental-health        referral       prior     to    placement      in



    5. It is unclear why Murphree believed he could not
get a job with a code of MH-C. In general, employment
opportunities in State prisons may not be denied based
on an inmate’s mental-health status if reasonable
accommodations would allow the prisoner to perform the
work. See Pa. Dep’t of Corrs. v. Yeskey, 524 U.S. 206,
210 (1998) (holding that Title II of the Americans with
Disabilities Act, 42 U.S.C. § 12131 et seq., bars States
from denying the “benefits” of “vocational ‘programs’”
to qualified prisoners with a disability).
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restrictive housing.          See id. at ADOC518063.           The nurse

who filled out the referral form noted that Murphree had

multiple altercations over the previous 24 hours and gave

him an emergent referral, which under the then-effective

stipulated remedial order required that he be seen within

three hours.6         See id.      On a pre-placement screening

completed      at    the   same   time,    Murphree     was    listed    as

clinically contraindicated for restrictive housing due

to his serious mental illness.                 See id. at ADOC518064.

       Murphree      was     placed       in     restrictive     housing

notwithstanding        his   contraindication         for   segregation.

There     is    no    evidence     in      his     records     that     any

consideration was given to an alternative placement for

him.     See Pls. Ex. 3281 at 1.                 He was never seen by

mental-health staff for the emergent referral made prior

to his segregation placement.

       At 3:40 a.m. on May 18, 2020, about 20 hours after

Murphree entered segregation, he was found dead in his


    6. As Dr. Burns credibly testified, bellicosity and
uncooperativeness can be symptoms of bipolar disorder.
See May 24, 2021, R.D. Trial Tr. at 79.
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cell with a ligature around his neck.               See id.      By the

time he was found, rigor mortis had set in, a process

that Dr. Kathryn Burns testified takes several hours.

See May 24, 2021, R.D. Trial Tr. at 80-81.               Under ADOC’s

administrative      regulations,        officers       must     conduct

cell-by-cell security checks in restrictive housing every

30 minutes, 24 hours a day.           As plaintiffs’ expert Eldon

Vail credibly testified, these security checks are among

the   highest    priorities      of    any    safety     measures     in

correctional facilities because the risk of suicide for

inmates housed in segregation is so extreme.                See, e.g.,

June 1, 2021, R.D. Trial Tr. at 107.

      In addition to these 30-minute security checks by

correctional     staff,    nurses      conduct    daily     rounds    in

segregation to provide medication and to check whether

prisoners    need    to   request      medical    or    mental-health

assistance.     In Murphree’s records, the nurse conducting

these rounds in the Bullock restrictive housing unit

initialed that she visited him on May 19, 20, and 21, the



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three    days    after    his    death.     See    Pls.   Ex.      3280    at

ADOC518091.7



                         4.     Charles Braggs

     Charles     Braggs    was     28   years    old   when   he    hanged

himself on July 27, 2020, in his cell in the restrictive

housing unit at St. Clair Correctional Facility, where

he had been living for more than two years.                   He was not

on the mental-health caseload.            At the time of his death,

Braggs     was     6’4”,        weighed   131      pounds,      and       had

methamphetamine in his system.                  See Pls. Ex. 3282 at

PL9916, PL9921.       He had been in restrictive housing for



    7. At the omnibus remedial hearings, defense counsel
represented that, according to his understanding, these
round sheets were stored “separate from [an inmate’s
individual] medical records.” May 28, 2021, R.D. Trial
Tr. at 12. According to defense counsel, after Murphree
committed suicide, his cell was occupied by a new
occupant, but “Murphree’s sheet remained in the stack of
sheets that the medical nurse signs off.”     Id. at 13.
There is no evidence in the record to indicate that this
is what actually happened, so the court does not know
whether to credit it as true. But even if this is what
happened, it leaves the court with serious concerns about
whether rounds are performed as required and about the
reliability and credibility of ADOC’s recordkeeping.
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all but one month since his incarceration at ADOC began

in 2011.

      Inmates like Braggs who are in restrictive housing

and are not on the mental-health caseload are supposed

to receive mental-health assessments every 90 days to

ensure that the stress of segregation has not caused them

to need increased mental-health care.            In the time Braggs

spent in his cell at the St. Clair restrictive housing

unit, he received two such assessments: one in December

2018, and one in March 2019.            During these assessments,

according to Wexford’s review of his death, “he reported

auditory     hallucinations,           sleep    disturbances,        and

reported   possible     paranoid/delusional         thought     content

and exhibited blunted affect and disheveled appearance.”

Pls. Ex. 3284 at ADOC539022.           In spite of this, “[t]here

is no evidence that consideration was given to removing

him from the [restrictive housing unit] or that he was

referred to or evaluated by the mental health provider.”

Id.



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    Under the stipulated segregation remedial order then

in effect, ADOC was required to conduct mental-health

rounds in restrictive housing at least weekly, stopping

at each inmate’s cell to determine whether the inmate

might require mental-health care.              The last documented

round conducted in the St. Clair restrictive housing unit

was on May 21, 2020, more than two months before Bragg’s

died.    See Pls.’ Ex. 4119 at 2.                 Lack of adequate

correctional staff was the reason given for this string

of missed rounds.       See id.

    On the morning of July 27, 2020, the day Braggs died,

he placed a medical request on a sick call form to see a

nurse because he had been “having seizures lately.”                 Pls.

Ex. 4118 at ADOC590774. He was not seen for this request.

According to a prisoner in the cell next to his, who was

interviewed by ADOC’s chief psychiatrist after Braggs’s

death, Braggs had been asking for mental-health services

for two weeks before he died.           See Pls. Ex. 4119 at 2.

    After speaking with Braggs during medical rounds on

the evening of July 27, the nurse asked a correctional

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officer at 7:15 p.m. to have Braggs brought to the

infirmary.         See Pls. Ex. 4118 at ADOC590777.             At 7:25

p.m., the nurse asked the officer again to bring Braggs

to the infirmary and was told that Braggs couldn’t be

brought over “because he didn’t have any clothes.”                   Id.

At 8:00 p.m., the nurse asked the captain on duty to

instruct his officers to bring Braggs to the infirmary.

See id.      At 8:15 p.m., the officers found Braggs dead in

his cell.      See id. at ADOC590778.

       In    the   months   leading    up   to   his   death,    Braggs

routinely had scheduled out-of-cell time canceled for

lack    of    correctional    staff.        Inmates    in   restrictive

housing cells are supposed to be allowed out of their

cells for five hours each week for exercise; as Dr. Burns

testified, the purpose of this requirement is to ensure

“a change of scenery, so they’re not locked in that same

space 24 hours a day, seven days a week.”               May 24, 2021,

R.D. Trial Tr. at 106.          In the seven months before his

death, Braggs rarely received these required five hours

per week out of his cell. In some weeks, records indicate

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that he received no time at all out of his cell due to

understaffing,          except     for    occasional         showers     or

health-care appointments.            See, e.g., Pls. Ex. 3921 at

ADOC517731.



                          5.     Gary Campbell

    Gary    Campbell       hanged    himself    in     his    restrictive

housing    cell    at     Limestone      Correctional        Facility    on

November 27, 2020, at the age of 43.                 He was not on the

mental-health caseload and was not flagged as having a

serious mental illness.           He had been living in the cell

where he died for more than two years at the time of his

death, after being placed in restrictive housing at his

own request.       During that time, Campbell had received

none of the required 90-day mental-health assessments.

    In November 2019, Campbell received a mental-health

referral    after        he    mailed    two    letters       that     were

“tangential       and    disorganized,”        which    the    referring

officer noted was “[n]ot normal for Campbell.”                   Pls. Ex.

3291 at ADOC546285.            In these letters, according to the

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notes      of     Nina    Tocci,     one        of    ADOC’s      regional

psychologists, Campbell declared that he “is the Wisdom

and Power of G-d.”             Pls. Ex. 3267 at 1.             He took “a

threatening tone about the ungodly people in the world

(‘others’) and those that ‘talk against me,’” and he

expressed “that his character was being ‘assassinated.’”

Id.

      The following month, he was seen by a mental-health

provider in response to this referral.                 The meeting took

place cell-side because Campbell refused to come out of

his cell.       See Pls. Ex. 3291 at ADOC546286.                According

to the progress note of that session, Campbell denied

suicidal or homicidal ideation but explained that “he

[was] content being in his cell because he has God.

[Campbell] reports he knows he will be released from

prison eventually and will continue to be a vessel to do

God[’]s    work.”        Id.     There    was    no    evidence     of    any

follow-up from this session in his records.

      In   June     2020,      Campbell    was       seen   again    by     a

mental-health       provider      after    being      referred      by    the

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Limestone Warden for another “bizarre letter.”                   Id. at

ADOC546288.     He refused again to come out of his cell for

the session, denied suicidal or homicidal ideation, said

he was “still content with being in his RH cell,” and

asked for paper and puzzles.           Id.   There was no evidence

of further follow-up or evaluation.

     Early in the morning on November 27, 2020, Campbell

was found hanging in his cell by correctional officers

“after an undetermined amount of time.”                Pls. Ex. 3292

at ADOC546327.        The officers cut Campbell down and called

for medical assistance, but they did not remove the sheet

from his neck or begin CPR.         After nursing staff arrived,

Campbell was moved to the medical unit, where CPR was

started.     At 6:34 a.m., he was pronounced dead.              Id.

     As     Wexford    staff   explained     in     their    review   of

Campbell’s death, “[i]t cannot be ruled out whether ...

Campbell was exhibiting symptoms of psychosis as there

is not sufficient evidence or a psychiatric evaluation

to   make    that     determination.”         Id.    at     ADOC546328.

Campbell “spent two years in an isolated environment,

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with     minimal    psychological       stimulation.”        Id.      Per

Tocci’s notes, he “lived isolated from others because he

was allowed to.         He did not come out of [restrictive

housing unit] for two years.            That was stressful and he

was not even aware that talking to someone could have

been helpful.”        Pls. Ex. 3267 at 1.

       In sum, Campbell asked to live by himself for years

in   a   small     segregation    cell,     and   ADOC    granted     his

request.     It checked on him twice when his rambling and

religiously obsessive letters raised alarms, but these

cell-side assessments were brief and perfunctory, and

they were never followed up with a full mental-health

evaluation.        At some point, he decompensated further; no

one knows when or why because no one was paying attention.

Then, one morning, he hanged himself.                 Sometime later,

he was found, cut down, moved to the medical unit, and

declared dead.



                        6.   Tommy McConathy



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      Tommy     McConathy,    age   32,     hanged    himself     from    a

ventilation grate in his cell in the stabilization unit

at Bullock Correctional Facility on March 2, 2021.                    When

he died, McConathy had a mental-health code of MH-D,

indicating inpatient placement, and he was flagged as

seriously mentally ill with diagnoses of major depressive

disorder and post-traumatic stress disorder.

      The      Bullock   SU   has   a    unique      history    in    this

litigation.       The stabilization units--the men’s unit at

Bullock and the women’s unit at Tutwiler--are inpatient

units    “for     patients    who    are     suffering     from      acute

mental-health problems--such as acute psychosis or other

conditions causing an acute risk of self-harm--and have

not     been     stabilized    through      other      interventions.”

Braggs, 257 F. Supp. 3d at 1183.              During the liability

trial, a prisoner named Jamie Wallace, who was housed on

that unit and who suffered from severe mental illness,

testified “that he had tried to kill himself many times,

showed the court the scars on arms where he made repeated

attempts,       and   complained     that    he   had    not    received

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sufficient treatment for his illness.”                Braggs, 257 F.

Supp. 3d at 1184.        “Because of his mental illness, he

became so agitated during his testimony that the court

had to recess and reconvene to hear his testimony in the

quiet of the chambers library and then coax him into

completing his testimony as if he were a fearful child.”

Id.    Ten days after his testimony, while the trial was

ongoing,   Wallace     hanged    himself     in   his   cell    in   the

Bullock SU.    See id.

      Ultimately, the court ordered ADOC to make all SU

cells suicide-resistant.         In a filing in July 2020, the

defendants informed the court that it had complied with

this requirement and retrofitted all of its SU cells to

be suicide-resistant.        See Response to Phase 2A Order on

Inpatient Treatment (Doc. 2880) at 4-5.             According to the

defendants’    filing,     suicide      resistance      requires     the

“removal of all tie-off points.”            Id. at 4.

      McConathy hanged himself in the Bullock SU by tying

a bed sheet to a ventilation grate located above the sink

in his cell.     The grate could be reached by standing on

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the sink.        See May 24, 2021, R.D. Trial Tr. at 154.

According to defense expert Dr. Jeffrey Metzner, who said

he   had   seen    a   photograph      of   McConathy’s     cell,    the

ventilation grate was of a type that would generally be

suicide-resistant except that a corner of the grate was

broken, creating a tie-off point that allowed McConathy

to kill himself.        See July 1, 2021, R.D. Trial Tr. at

2-3.     Metzner did not know how long the grate had been

broken before McConathy hanged himself from it.                 See id.

       Before    his   death,   McConathy’s      incarceration       was

characterized by frequent, pervasive sexual and physical

violence.       As he told a mental-health provider during a

therapy     session     at   Kilby     Correctional      Facility     in

September 2020, he was being trafficked by a gang and

forced to perform sex acts to pay off the gang’s debt.

See Pls. Ex. 3310 at ADOC546530.              He told the provider

that he would kill himself if he had to go back to

Easterling Correctional Facility, where this trafficking

had apparently happened.        See id.      Easterling was not the

only source of his fear, however; as he said in a crisis

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counseling meeting a few days later, he had been to five

different facilities and “all the inmates are out to harm

him.” Id. at ADOC546541. During a session at the Bullock

SU the following month, he told his counselor that this

was his “last try.       I want help but I will not let them

hurt me again.      I will die first.”             Id. at ADOC546648.

The provider noted that McConathy was “adamant about his

desire to die” if placed in a position where he would be

raped again.     Id.

    Six days after that, McConathy was transferred from

the Bullock SU to the residential treatment unit, an

inpatient    unit      that    at        Bullock    is    a   dormitory

environment.      See id. at ADOC546668.                 The following

month, he reported another sexual assault and told his

crisis counselor that he “can’t function on the RTU!”

Id. at ADOC546690. At that point, he had been on repeated

suicide watches since December 2019.                The day after he

reported his assault on the RTU, a mental-health provider

found McConathy to be “at high risk for continued suicide



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watch until [his] safety needs are addressed.”                    Id. at

ADOC546712.

     Although the provider indicated that McConathy would

be   considered     for   referral      to   Citizens      Hospital,       a

hospital    that    has   a   small     number    of    inpatient    beds

available for ADOC inmates who have not been successful

with any of the levels of care offered in ADOC facilities,

McConathy was not transferred to Citizens until 30 days

later on January 13, 2021.              Safe at the hospital, he

stabilized     significantly,         although    he    “continued     to

report fear of returning to a setting in which he would

be physically and sexually assaulted.”                 Pls. Ex. 3312 at

ADOC589249.      His medications were adjusted, and he was

found to be “calm[] and pleasant.”               Id.

     On February 18, 2021, McConathy was discharged from

Citizens Hospital back to the Bullock SU.                  On March 1,

McConathy was seen by a mental-health provider and said

that he “learned a great deal about his mental health at

Citizens,” but that “he feels people still want to harm

him.”    Pls. Ex. 3310 at ADOC546887.                  In the progress

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note, the plan given was to continue providing therapy

and medication, but to release McConathy from the SU.

See id.        His treatment team recommended that he be

discharged to the Donaldson RTU, a celled environment

where they hoped he might be safer than the dormitory

setting   of    the    Bullock   RTU.     See    Pls.   Ex.    3312   at

ADOC589250.

    At around 12:30 p.m. the next day, McConathy was

found hanging in his SU cell.            He was cut down and CPR

was initiated.        About 10 minutes later, he was pronounced

dead.



    C.    Changed Circumstances in Areas of Liability

    Based on the totality of the evidence presented

during    the   omnibus     remedial     proceedings,       the   court

proceeds to discuss its findings with regard to the

changed circumstances in ADOC facilities related to each

of the areas of liability previously found by the court.

Serious problems with the provision of mental-health care

in ADOC facilities persist in many of the remedial areas

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discussed below; others show some improvement, and a few

show that ADOC has taken significant steps forward since

the time of the court’s liability opinion.                      To be clear,

the   fact    that      significant        deficiencies     persist       with

regard to a particular aspect of the mental-health care

offered      by   ADOC    does    not      mean   that    every    remedial

provision proposed by the parties is necessary to correct

those deficiencies.              Nor does the absence of broad,

ongoing      deficiencies        as     to    another      part     of     the

mental-health        care    system        mean   that     no    relief     is

necessary:        ADOC may be exceeding the constitutional

minimum in most but not all elements of a given part of

its mental-health care system, and some narrow relief may

still be needed to remedy the points at which it continues

to fall short.          But the general degree of improvement or

lack of improvement in the areas of relief that were the

subject      of   the    omnibus      proceedings        will    inform    the

court’s determination of precisely what remedies remain

necessary in each area and what modes of providing that



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relief are the most narrowly tailored and least intrusive

ways of correcting the violations at issue.



                    1.    Correctional Staffing

       As the court found in its liability opinion in 2017,

ADOC’s severe staffing shortages, “combined with chronic

and significant overcrowding, are the overarching issues

that     permeate    each     of     the”     failures       of    ADOC’s

mental-health care system that contributed to the court’s

finding of constitutional deficiency.                  Braggs, 257 F.

Supp. 3d at 1268.         For that reason, when the court split

the remedial phase of this suit into component elements

to make developing relief a more manageable task, the

court declared that “the understaffing issue must be

addressed    at   the     outset.”      Phase    2A    Revised     Remedy

Scheduling Order on Eighth Amendment Claim (Doc. 1357)

at 4.      Staffing, the court explained, “must be fully

remedied    before       almost    anything     else   can    be   fully

remedied.”     Id.       This approach, the court said, was an

act of “triage,” id.--that is, the act of responding to

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a disaster “according to a system of priorities designed

to   maximize       the     number      of    survivors,”         Triage,

MERRIAM-WEBSTER     ONLINE,     https://www.merriam-webster.com

/dictionary/triage        (last    visited    December      20,   2021).

Because having too few staff to provide adequate care to

its prison population lay at the heart of all of the

court’s other findings of constitutional inadequacy, the

problem of understaffing had to be addressed first in

order to maximize the number of lives saved.

     Understaffing was therefore the first of the court’s

liability findings subjected to remedial proceedings and

a long-term remedial order.            See Phase 2A Understaffing

Order (Doc. 1657).8        In that order, the court instructed

the defendants, inter alia, to obtain a correctional


    8. The defendants have long disputed the adequacy
of the PLRA findings in the opinion accompanying the
understaffing remedial order and raised this issue again
during the omnibus remedial proceedings. The defendants’
recourse for these complaints was either to appeal the
court’s order at the time it was issued or to file a
motion to modify or terminate that order, under the PLRA
or otherwise.   Whatever the merits of the defendants’
concern may be, the defendants remained obligated to
comply with the order absent modification, termination,
or reversal.
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staffing analysis from the firm of Margaret (“Meg”) and

Merle Savage by May 2018 and, by February 20, 2022, to

“have    fully     implemented          the       Savages’     correctional

staffing recommendations,” as modified by any subsequent

agreements or orders.              Id. at 2-3.

       The Savages timely completed and submitted their

staffing analysis and recommendations to ADOC on May 1,

2018.     See Savages’ Report (Doc. 1813-1) at 2.                           They

recommended that ADOC maintain, in total, 3,826 full-time

equivalent correctional officer positions between what

are     termed        “mandatory”           and      “essential”       posts.

“Essential” posts are those that are “needed for normal

operations but may be temporarily interrupted.”                        Id. at

106.      As    Meg     Savage       testified       during    the    omnibus

proceedings,       so-called         “normal      operations”        are    “the

situation where activities are being conducted routinely

as    prescribed       in    all     policy    and    procedures,”         which

includes       “such        things     as     programming,       recreation

activities, vocational and educational systems, all up

and running, supervised appropriately.”                      June 16, 2021,

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R.D. Trial Tr. at 41-42.         These positions must be filled

75 % of the time; that degree of interruption does not

cause   “significant     impact”        to   the   operations   of   the

prisons.    Savages’ Report (Doc. 1813-1) at 106.

    “Mandatory” posts, which comprise the vast majority

of the 3,826 positions recommended by the Savages, are

those that “cannot be left unfilled without jeopardizing

safety and security.”        Id.   As Meg Savage testified, “in

a fully functional agency staffing unit,” the number of

“mandatory” posts would match the numbers of another

designation--“critical minimum” posts--which are those

positions that, if they are not staffed at a particular

time, should cause a facility to “immediately lock down

and make sure that everything is safe, because you’ve

reached a critical level.”         June 15, 2021, R.D. Trial Tr.

at 122-24, 129.      These “critical minimum” positions are,

in Savage’s terms, “the practical application of [the]

post plan” from the staffing analysis at an individual

facility:    They may be subject to certain changes on the

ground as the responsibilities or units in a particular

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prison   shift,    but    any    changes     should     be   regularly

reconciled with the post plan to ensure that they match

the “mandatory” posts described there.                   Id. at 126.

Because prisons cannot safely operate in a non-lockdown

status without these “mandatory” or “critical” posts

filled, much less provide the level of programming and

recreation prescribed by prison policy, these posts must

be manned 100 % of the time.           See id. at 126-27.       Leaving

such posts unfilled would yield what Meg Savage called

“unacceptable” consequences for safety, such as housing

units with no supervision, id.; as the Savages explained

in their staffing analysis, “[a]ny time staffing falls

below Critical Minimum an emergency should be declared,

inmates locked down, and steps taken to resolve the

problem.”    Savages’ Report (Doc. 1813-1) at 22.

    Instead of declaring emergencies and locking down,

the evidence demonstrates that ADOC operates daily at

staffing levels well below what the Savages considered

necessary, and that the system has made only slight

progress toward minimally adequate staffing in the three

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years since the court’s understaffing remedial order.

The first report on correctional staffing levels that

ADOC filed with the court after receiving the Savages’

assessment showed that, at the end of March 2018, the

system had filled 1,467 of the 3,826 total correctional

staff positions.          See Quarterly Staffing Report (Doc.

1858-1) at 2. The last staffing report before the omnibus

remedial    hearings,      filed       exactly   three   years   later,

showed that ADOC has now filled 1,830.5 correctional

staff positions.          See Quarterly Staffing Report (Doc.

3246-1)     at    4.      This   number     excludes     90   so-called

“Correctional Cubicle Operators,” who “are not certified

officers” and “can have no inmate contact,” and who

therefore were not included in the Savages’ staffing

recommendations.       Savages’ Report (Doc. 1813-1) at 13,

38.    In    total,    ADOC      has    gained   459.5   correctional

officers    and    lost    96    supervisors     since    the    Savages

submitted their staffing analysis in May 2018.                      ADOC

continues to have filled less than half of the mandatory

and essential positions listed in the staffing analysis.

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At the present pace of improvement--363.5 positions in

three   years--ADOC      is   on   track    to   achieve     sufficient

staffing to safely conduct normal operations sometime in

mid-2037.9


    9. The defendants have argued that the posts listed
in the Savages’ staffing analysis in fact reflected
“optimal” staffing levels rather than the levels
necessary to safely conduct normal operations.       See,
e.g., Defs.’ Post-Trial Br. (Doc. 3367) at 56-57. Meg
Savage made several statements to that effect during her
testimony. See, e.g., June 15, 2021, R.D. Trial Tr.R.D.
Trial Tr. at 46, 80-81; see also Savages’ Report (Doc.
1813-1) at 105. Just as often, however, Savage said the
opposite in unequivocal terms. See, e.g., June 16, 2021,
R.D. Trial Tr. at 50, 54-55. Moreover, the notion that
the Savages’ analysis described optimal levels is belied
by the terms of the analysis itself. “Essential” posts,
along with “mandatory posts,” are defined as the
positions “needed for normal operations.”        Savages’
Report (Doc. 1813-1) at 106.      “Normal operations,” in
turn, are defined as a level between optimal staffing and
critical minimum staffing.     See id. at 22.     So too,
there exists a third kind of post--“important” posts--and
as Meg Savage explained, filling these “important” posts
is what allows a prison system to reach optimal levels.
See June 16, 2021, R.D. Trial Tr. at 50. The Savages’
staffing analysis contained no “important” posts in its
facility post plans. See Savages’ Report (Doc. 1813-1)
at 121-33. Accordingly, considering all of the evidence,
the court finds that the Savages’ staffing analysis
reflected the posts necessary for ADOC to safely conduct
normal operations, not the posts necessary to achieve
optimal staffing levels. And regardless, the gist of the
Savages’ testimony was clear:         ADOC’s correctional
staffing is woefully inadequate.
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     The evidence presented in the omnibus hearings made

clear how this grievous systemwide understaffing is felt

daily at ADOC facilities.            On a representative week at

Donaldson Correctional Facility, the prison managed at

most to fill 61 of the 97 mandatory posts at the prison

one day on one shift. See Pls. Ex. 3860 at ADOC588188-90.

In the inpatient RTU and SLU units at Donaldson that

week, ADOC filled at most seven of the 13 mandatory posts.

See id.      These were maximum numbers; on other shifts

during the week, Donaldson had as few as 21 of the 97

mandatory posts filled prison-wide and only one post

filled across the RTU and SLU: a single officer in the

control room for those units and no one on the floor.

See id. at ADOC588208, 217-18.

     Donaldson was not an outlier among ADOC facilities

in   its   degree     of   understaffing.          During     similarly

representative       weeks     at    Bullock,      St.     Clair,     and

Easterling, ADOC again did not fill all of the mandatory

posts on a single shift at any of the facilities, even

counting correctional cubicle officers and trainees. Nor

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are these facilities the worst of the system; according

to the defendants’ most recent quarterly staffing report

prior to the omnibus remedial hearings, Bibb, Kilby, and

Ventress Correctional Facilities all had correctional

staff vacancy rates of over 50 %.           See Quarterly Staffing

Report (Doc. 3246-1) at 3.             Only the Hamilton Aged and

Infirmed Center had adequate correctional staffing as

reflected in that report, and otherwise only the Tutwiler

Prison for Women had a vacancy rate of less than 40 %.

See id.

    ADOC began a pilot program at Easterling, Hamilton,

and Tutwiler to begin tracking the fill rate of critical

minimum posts at those facilities.              See June 15, 2021,

R.D. Trial Tr. at 112-13.              But instead of an honest

assessment of the facilities’ critical staffing needs,

ADOC elected simply to leave off every mandatory five-day

post from the Savages’ staffing analysis, including only

the mandatory seven-day posts instead.                  See June 17,

2021, R.D. Trial Tr. at 7-8.                This across-the-board

decision appears both baseless and arbitrary, and it is

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out of keeping with Meg Savage’s testimony that mandatory

and critical posts should generally be identical, absent

some        reason    why      a     particular      post      might   become

non-critical based on specific changes at the facility.

See June 15, 2021, R.D. Trial Tr. at 122-24.                           Savage

testified that she did not know why ADOC had, as she

said, “excluded” all mandatory five-day posts in creating

these rosters.             June 17, 2021, R.D. Trial Tr. at 8.

       Of    course,       necessary      staffing     levels    are   always

relative       to    prison        population.         Incarcerating       more

prisoners          requires        more   staff;     incarcerating      fewer

requires fewer.            What staff are needed may also vary with

changes       in     the    responsibilities         of    a   facility,     or

structural changes such as the opening or closing of

particular units.             For that reason, among the Savages’

recommendations            that     the   court’s    understaffing     order

required the department to “fully implement[],” Phase 2A

Understaffing Remedial Order (Doc. 1657) at 3, were that

“another staffing analysis ... be conducted for every

facility       starting       in    January    2019”      to   re-assess    the

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prisons’ needs and that an “agency staffing unit” be

created to “implement[] and enforce[] ... any changes

resulting from this analysis,” Savages’ Report (Doc.

1813-1) at 20, 100.          Among its responsibilities, this

agency staffing unit would set critical minimum levels

for each facility and ensure that those levels matched

the mandatory posts in the staffing analysis.                  See id.

at 22; see also June 15, 2021, R.D. Trial Tr. at 122-24.

    Despite the court’s order to implement the Savages’

recommendations, ADOC has done nothing in the intervening

three years to update the Savages’ staffing analysis.

Nor has the department established the agency staffing

unit; until the absence of this unit came up in Meg

Savage’s testimony during the omnibus proceedings, ADOC

had taken no steps to set up the staffing unit or hire

an agency staffing head.         As a result of ADOC’s failure

to implement these recommendations, Savage testified that

she did not know whether the number of correctional staff

positions currently needed for the system to operate

safely is higher or lower than the number she and her

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husband found in their 2018 analysis.             See June 16, 2021,

R.D. Trial Tr. at 9-14.

     That said, ADOC’s population figures do not suggest

that the systemwide number of necessary correctional

staff should be radically different going forward than

it was at the time of the court’s understaffing order.

While     the    system’s    in-house      population      has    fallen

somewhat since that time, nearly all of the decrease is

due to the dramatic drop-off of admissions starting in

April 2020 as the COVID-19 pandemic took hold.                   Compare

Pls. Ex. 4033 at 3, with, Joint Stipulation (Doc. 3288)

at 2.   Those un-admitted people did not simply disappear;

as the parties’ joint evidentiary stipulation shows, the

decline     in    admissions      has    been    accompanied       by      a

sustained, coordinate rise in what ADOC terms “County

Jail Population: On-The-Way.”             Joint Stipulation (Doc.

3288) at 2.      When those inmates arrive, the correctional

staffing needs of ADOC will only increase.

     Right now, the lack of correctional staff continues

to have profound consequences for the safety of prisoners

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incarcerated in the ADOC system.                 Tommy McConathy was

raped in the Bullock RTU, where duty post logs show that

the entire dormitory was at times staffed by a single

correctional cubicle officer in the control room and no

one   on   the   dormitory    floor.       See     Pls.    Ex.     3403   at

ADOC558777; May 28, 2021, R.D. Trial Tr. at 157-58.

Charles Braggs’s records indicated that he was offered

out-of-cell exercise time on only four days in the six

months he spent in segregation before his death, and the

entries in his file frequently note staff shortages as

the reason why his required out-of-cell exercise time was

cancelled.        See     Pls.    Ex.     3921     at     ADOC517730-58.

Representative     duty    post    logs    from    St.     Clair    showed

multiple restrictive housing units staffed with a single

officer in the control room and no one on the unit floor.

See Pls. Ex. 4269 at ADOC588534.                 Because two officers

are required to take an inmate out of his cell, Savage

testified that she “honestly d[id] not know” how ADOC

could get any of the prisoners on those units out if

needed in the case of a mental-health emergency.                      June

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16, 2021, R.D. Trial Tr. at 195.                      Audits of ADOC’s

restrictive         housing    units    routinely        found    compliance

levels with the required 30-minute security checks below

20 %; the extraordinary degree to which non-compliance

with     this       requirement    puts       inmates      at     risk    was

illustrated by the case of Casey Murphree, who was not

found for hours after his death, after rigor mortis had

set in.

       Moreover, a candid March 2020 letter from Wexford to

ADOC’s then-Associate Commissioner of Health Services

explained           how   continued,           extreme          correctional

understaffing undermines the adequacy of mental-health

care in ADOC facilities across the board.                        The absence

of correctional staff and the resulting violence and

stress among ADOC inmates resulted in decompensation and

suicidality, leading to skyrocketing demand for suicide

watch--more than 4,000 % above the suicide watch hours

anticipated in Wexford’s contract.                  See Pls. Ex. 3323 at

1-2.      As    a    result,    Wexford      has    had    to    divert   its

mental-health         resources    en       masse   to    suicide     watch,

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yielding   a    system     of   crisis     response      in   lieu    of

mental-health care.       See id.      In Wexford’s words:

    “No one disputes that the ADOC has a severe
    shortage of Correctional Officers (COs), as
    documented in an April 2019 US Department of
    Justice report as well as in multiple quotes
    from ADOC staff to the media. Furthermore, no
    one disputes that this lack of security presence
    is a major contributing factor to the ongoing
    and excessively high levels of contraband,
    inmate drug use, and inmate-on-inmate violence
    the ADOC has experienced over the past several
    years.

    “With many prison units lacking COs to protect
    against     aggressive      and/or     predatory
    troublemakers, many inmates are afraid for their
    lives, resulting in unprecedented levels of
    stress, anxiety, and panic disorders among the
    ADOC inmate population.     In many cases, the
    hostile prison conditions lead inmates to
    suicidal thoughts or acts.     This has greatly
    increased the number of patients Wexford Health
    must place on suicide watch: fewer security
    staff enables greater violence; which increases
    fear and suicidal thinking; which increases the
    need for suicide watch hours.      The dramatic
    increase in suicide watch volume has left us
    with no choice but to replace the performance of
    routine mental health tasks—which comprise a
    large part of the audits—with providing crisis-
    level services, to ensure the safety of our
    patients.”
Id. at 2 (emphasis in original).



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    Taken as a whole, the evidence presented at the

omnibus remedial hearings reflected a beleaguered and

dysfunctional system where still-egregious correctional

staffing    deficiencies        make    providing    constitutionally

adequate mental-health care impossible.               In light of this

evidence, the court finds that continued correctional

understaffing in all ADOC facilities except the Hamilton

Aged and Infirmed Center and Tutwiler prison for women

places     mentally      ill        inmates   in   ADOC     custody   at

substantial       risk         of      serious      harm,     including

decompensation, victimization, self-injury, and death.10



                  2.     Mental-Health Staffing




    10. Because of the nearly unchanged severity of
ADOC’s correctional understaffing and the degree to which
it continues to “permeate” the entirety of the
department’s mental-health care system, Braggs, 257 F.
Supp. 3d at 1268, this understaffing creates a
substantial risk of serious harm regardless of any other
continued deficiencies.   However, as will be discussed
below, the correctional understaffing is exacerbated by
ongoing problems in many of the other areas in which the
court has previously found liability.
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      In   contrast         to    its       minimal     efforts         to    increase

correctional staffing, ADOC has made significant, albeit

incomplete,       progress         toward         increasing        mental-health

staffing     in        ADOC       facilities            to        constitutionally

acceptable levels.

      In its 2017 liability opinion, the court surveyed

levels of mental-health staffing across ADOC disciplines

and facilities and found them “chronically insufficient.”

Braggs,    257    F.    Supp.          3d    at    1194.          ADOC’s      prisoner

population       had    become          more       mentally        ill       over   the

preceding    decade,          “both         in    terms      of    the   number      of

individuals who need[ed] mental-health care and in terms

of the acuity of mental-health care needs.”                             Id. at 1194.

Yet   ADOC      had    hired       fewer          and     fewer     mental-health

providers--far fewer than it was authorized to hire under

its contract with its mental-health vendor.                             Id. at 1194–

95.    The resulting understaffing caused “a plethora of

issues, including insufficient identification of mental

illness    at     intake         and     referrals;          missed      counseling

appointments          and        group       sessions;            and    inadequate

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monitoring of prisoners in mental-health crises.”                    Id.

at 1197.

      To remedy those issues, the defendants proposed a

plan with short-run and long-run components.                 See Phase

2A Understaffing Remedial Opinion (Doc. 1656) at 17–18.

The short-run component called for ADOC, in the course

of slightly more than a year, to double the number of

psychiatrists,         psychologists,            certified        nurse

practitioners, licensed mental-health professionals and

registered nurses employed at ADOC facilities.                   Id. at

18–20.     In addition, the defendants proposed that ADOC

must fill certain existing positions in its Office of

Health Services (OHS)--the ADOC department responsible

for monitoring the provision of mental-health care--and

create and fill others.          Id. at    23–27.

      The long-run component of the defendants’ plan called

for    ADOC    to   employ   a   team     of   three    mental-health

consultants to develop ratios for determining the number

of    mental-health    staff     of    various   types     needed    per

inmate.       The defendants proposed to apply those ratios

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to   ADOC    caseload      numbers,         and   thereby     determine    an

appropriate      number     of    mental-health           staff   for    each

facility and discipline.              Id. at 20–22.         ADOC would then

modify its contract with its mental-health vendor to

provide the recommended number of staff.

       The   court    found      the    defendants’         proposed     plan

“minimally      adequate”        to     remedy      the     constitutional

violations identified in its 2017 liability opinion, and

ordered its adoption, with slight modifications.                        Phase

2A Understaffing Remedial Opinion (Doc. 1656) at 1; Phase

2A Understaffing Remedial Order (Doc. 1657) at 1.                         The

court supported this order with PLRA findings.                    See Phase

2A Understaffing Remedial Opinion (Doc. 1656) at 33-37.

       To    implement     the     short-run          component    of     the

defendants’ plan, the court ordered ADOC to hire, by July

1, 2018, the full number of mental-health professionals

available to it under its then-existing contract with its

mental-health        vendor.          See     Phase    2A    Understaffing

Remedial Order (Doc. 1657) at 4.                  The court also ordered

ADOC    to   fill    the   positions         of   Clinical     Director    of

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Psychiatry and Ombudsman in the ADOC Office of Health

Services,         and   to   create    and        fill    the   positions   of

Director of Mental Health Services and Southern Regional

Psychologist.           See id. at 6–7.

      To     implement       the      long-run           component   of     the

defendants’ plan, the court ordered ADOC to meet a series

of deadlines.           First, it ordered the defendants’ mental-

health consultants--Catherine Knox, Jeffrey L. Metzner,

and   Mary    Perrien--to       begin        to    develop      mental-health

staffing ratios by September 1, 2018.                       See id. at 4-5.

Second,      it    ordered    that     the    defendants’         consultants

submit finalized mental-health staffing ratios to the

defendants to be filed with the court by March 4, 2019.

See id. at 5.            Third, it ordered that ADOC modify its

contract with its mental-health vendor to provide the

positions required by the staffing ratios by August 15,

2019.      See id.       Fourth, it ordered that the defendants’

consultants review implementation of the staffing ratios

and make recommendations, if necessary, for revising

them, by January 15, 2020.             See id. at 5–6.            Finally, it

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ordered that ADOC’s mental-health vendor fill the mental-

health staffing positions consistent with the contract

by February 15, 2020.        See id. at 6.

    In the months following the entrance of the court’s

Phase 2A Understaffing Remedial Order, ADOC seemed to the

plaintiffs to be dragging its feet, and in July, 2018,

the plaintiffs moved to hold the defendants in contempt,

alleging that ADOC had failed to meet certain deadlines

imposed by the understaffing order, and that it had

withheld data concerning its compliance.              See Pls. First

Notice of Non-Compliance and Motion for Order to Show

Cause Why Defendants Should Not be Held in Contempt (Doc.

1916).    The defendants opposed the motion, see Defs.

Response in Opposition (Doc. 1936), and after a series

of hearings on the nature of ADOC’s obligations regarding

mental-health staffing, the parties agreed to resolve

their dispute by stipulating to various modifications of

the court’s Phase 2A Understaffing Remedial Order, see

Amended Stipulations Regarding Mental Health Staffing

(Doc. 2283-1).      Under the parties’ stipulations, which

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the court entered as an enforceable order, see Order

(Doc.     2301),       ADOC    agreed       to    provide     mental-health

staffing     consistent         with        certain      minimum     staffing

requirements until such time as its consultants finalized

their staffing ratios, and to submit quarterly staffing

reports     to     the    court     and        monthly    reports      to     the

plaintiffs.

    ADOC proceeded to make significant progress. Its

consultants       completed       their      recommended      mental-health

staffing    ratios        in   February,         2019,    see      Recommended

Staffing Ratios for Mental Health Services (Doc. 2385-

1), and in September of the same year the parties jointly

filed a mental-health staffing matrix, based on those

staffing         ratios,        specifying             the      number         of

full-time-equivalent           staff      to     be   hired   at    each     ADOC

facility,        see     Mental-Health           Staffing     Matrix        (Doc.

2618-1).     The court approved that staffing matrix in

December 2019, together with stipulations by the parties

regarding the manner in which ADOC was to comply with its

consultants’           recommendations,          and     incorporated         the

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staffing matrix and stipulations into an enforceable

order.       See    Phase     2A     Order     and     Injunction     on

Mental-Health Staffing Remedy (Doc. 2688).                  ADOC then

modified its contract with Wexford to hire mental-health

staff according to those stipulations and the staffing

matrix.     See P-3321.         Those modifications went into

effect on October 1, 2020.           See id. at ADOC528698.

    Since then, ADOC has hired a significant number of

new mental-health staff.           While ADOC has yet to meet the

targets set forth in the December 2019 staffing matrix,

its consultant, Dr. Metzner, testified that several ADOC

facilities have sufficient mental-health staff to provide

a constitutionally permissible level of care to their

current    inmate      populations,          including      Easterling

Correctional Facility, Fountain Correctional Facility,

Holman    Correctional        Facility,        Kilby     Correctional

Facility, and Limestone Correctional Facility, see June

30, 2021, R.D. Trial Tr. at 123–32,                  and that certain

positions at St. Clair Correctional Facility and Staton



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Elmore Correctional Facility are adequately staffed, id.

at 141–42.11

      Nevertheless, while change has come faster in this

area than others, its pace has been slower than ordered,

and   serious     deficiencies       in    mental-health       staffing

remain.    The court’s 2018 remedial staffing order set a

deadline of August 15, 2019, for ADOC to modify its

contract with its mental-health vendor to provide the

positions required by the staffing matrix.                 ADOC failed

to meet that deadline, and it has not caught up.                      Its

consultants have not revised their ratios, as they were

required to do by January 15, 2020.                And although ADOC

has made encouraging progress at some facilities, no

facility is in complete compliance with the court’s 2018

remedial staffing order and the parties’ staffing matrix.



    11. Dr. Metzner later testified that he misread a
staffing chart prepared by Wexford and overestimated the
extent to which the ADOC facilities were staffed by up
to 15 %. See July 1, 2021, R.D. Trial Tr. at 7; July
5, 2021, R.D. Trial Tr. at 65–66. Still, the court does
not question that ADOC has made great progress in
staffing at the facilities that Dr. Metzner identified.

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In fact, according to the most recent staffing report in

the record, at only seven of its facilities has ADOC

staffed even a single type of position in accordance with

the requirements of the staffing matrix.                  See Quarterly

Mental-Health     Staffing      Report     (Doc.    3227-1)          at   3–4

(reporting that ADOC has fully staffed the positions of

mental-health observer, at Bibb Correctional Facility;

mental-health       observer,       at     Bullock            Correctional

Facility;      mental-health           observer,         at      Donaldson

Correctional     Facility;      mental-health        licensed         nurse

practitioner,      at     Fountain       Correctional            Facility;

mental-health observer, at Holman Correctional Facility;

mental-health     licensed      nurse    practitioner,           at    Kilby

Correctional Facility; and mental-health observer, at

Limestone Correctional Facility at the levels provided

in the staffing matrix.).         At no facility has it staffed

more than one type of position in accordance with the

requirements of the staffing matrix.               See id.

    That    several      ADOC    facilities        may        have    enough

mental-health staff to serve their current populations

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is an encouraging development, but not necessarily a

permanent one.        In response to the COVID-19 pandemic,

ADOC largely stopped conducting intake from local jails,

and, as a result, its inmate population has fallen below

the levels that the staffing matrix was designed to

accommodate.     See, e.g., June 30, 2021, R.D. Trial Tr.

at 122 (testimony of Dr. Metzner, estimating that ADOC’s

caseload has decreased by 3,000 inmates due to COVID-19).

Both parties agree that, when the pandemic abates, ADOC

will likely see a substantial and rapid increase in its

inmate population. See Joint Stipulation For Evidentiary

Hearing (Doc. 3288) at 2; Pls. Dem. Ex. 236; Pls. Exs.

3224–3232;     June    30,   2021,     R.D.    Trial     Tr.    at   111

(testimony of Dr. Metzner); July 5, 2021, R.D. Trial Tr.

at 76 (testimony of Dr. Metzner).             It remains to be seen

whether the ADOC facilities that are sufficiently staffed

today will stay that way, or whether the requirements of

the staffing matrix--which ADOC has not met--are accurate

indicators of the quantity of staff needed to provide a



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constitutionally permissible standard of care once intake

from local jails resumes.

    More     troubling        still,         ADOC’s    shortage        of

correctional staff calls into question the adequacy of

mental-health staffing even in those facilities where

ADOC has made the most progress.              Dr. Metzner based his

testimony that certain ADOC facilities have sufficient

mental-health staff to serve their current populations

on the mental-health staffing ratios; given the number

of mental-health staff employed at each facility, he used

the ratios to determine the maximum number of inmates

those staff could treat.             At certain facilities with

lower-than-predicted        inmate      populations,      the    ratios

projected current staffing levels to be adequate.                     The

ratios, however, are based on a set of assumptions,

including the assumption that “[t]here will be adequate

correctional     staffing.”            See    Doc.    2385-1     at    2.

Unfortunately, that assumption has proven false and is

projected to remain false for years.             ADOC has failed to

provide adequate correctional staffing, and that failure

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has had a direct impact on the ability of mental-health

staff to treat inmates efficiently.             As explained above,

extreme correctional understaffing has prevented mental-

health staff from treating inmates simply because there

are insufficient correctional staff to escort inmates to

and from their cells.        See supra at 73-76; Pls. Ex. 3310

at ADOC546882; May 25, 2021, R.D. Trial Tr. at 140-44;

Pls. Ex. 3347 at ADOC553738.           It has also resulted in a

proliferation of violence, causing a massive increase in

suicide watch hours that has required mental-health staff

to “replace the performance of routine mental health

tasks ... with providing crisis-level services.”                  Supra

at 76 (quoting Pls. Ex. 3323 at 2).                 It is therefore

almost certain that mental-health staff are unable to

treat   inmates    as    efficiently     as   the   staffing     ratios

assume, and it is likely that more mental-health staff

are currently needed even in those facilities where the

defendants have made the most progress.



                    3.    Restrictive Housing

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      The court discussed above and will discuss in more

detail below the current risks to inmates in ADOC’s

restrictive housing units that are the direct result of

the system’s ongoing dearth of correctional officers.

These     problems    include,     for    instance,         insufficient

out-of-cell time and the inadequate provision of the

30-minute     security       checks      necessary     to     interrupt

decompensation and suicide.            The court will not further

elaborate those problems here.           Instead, it notes several

additional, serious problems with the mental-health care

provided to inmates in ADOC’s restrictive housing units

that are discussed less elsewhere in this opinion.

      First, ADOC continues to lack a functioning process

for   diverting      individuals       from   segregation         who   are

contraindicated for placement there due to suicide risk,

serious      mental      illness,        or    other        significant

mental-health     issues.       Part     of   this    is    due    to   the

deficiencies in the disciplinary process discussed above,

which should help prevent inmates who are clinically

contraindicated        for     segregation           from     receiving

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segregation sentences.                 But the pre-placement screening

process       also        is    intended          to    divert        inmates     from

segregation when necessary, and it, too, fails almost

categorically to do so.                       In other words, if ADOC’s

mental-health care system were functioning adequately,

there    would       at    least       two    layers       of    protection       (the

disciplinary         process          and    the     pre-placement        screening

process) to prevent inmates with serious mental illnesses

from    being     placed          in     segregation            for    disciplinary

reasons, and one layer of protection (the pre-placement

screening process) to prevent inmates with serious mental

illnesses       from           being        placed      in      segregation       for

non-disciplinary reasons. But neither works in practice,

and    suicidal       inmates          and    those     with      serious       mental

illness are routinely placed in segregation as a result.

       ADOC    has        improved          its    practice       of     conducting

pre-placement             screenings              for    prisoners         entering

segregation      to        assess      them       for   contraindications           to

restrictive housing, although there is some evidence that

these     screenings            too    often        miss     contraindications.

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Dr. Burns, for instance, testified about her review of

the records of an inmate the parties called D.R., who

received pre-placement screenings that “continually said

there were no contraindications for [restrictive housing

unit] placement, even though he was a person with a

serious mental illness.”          May 25, 2021, R.D. Trial Tr.

at 87.

    More   troubling      is   that,    as   of   the   time    of   the

liability trial, ADOC staff regularly ignore the results

of pre-placement screenings.            Laramie Avery and Casey

Murphree both were flagged in pre-placement screenings

as clinically contraindicated for segregation due to

mental-health concerns.          See Pls.’ Ex. 3302 at 518578;

Pls.’ Ex. 3280 at ADOC518064.                Both were placed in

restrictive housing anyway, and both died there, Murphree

within a day of his arrival.             Two mental-health staff

members told correctional officers that another inmate

referred to as A.J. should not be placed in segregation

because of his mental-health; they eventually had to

refer him for suicide watch even though he did not need

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it because the captain with whom they were communicating

said he was going to place A.J. in segregation anyway.

See May 25, 2021, R.D. Trial Tr. at 27.

       Although the court found in the liability opinion

that     “it    is     categorically        inappropriate        to    place

prisoners with serious mental illness in segregation

absent extenuating circumstances,” Braggs, 257 F. Supp.

3d at 1247, ADOC has never developed a working definition

of these “extenuating circumstances”--often now called

“exceptional circumstances.”                    See July 1, 2021, R.D.

Trial Tr. at 225-26, 233.                  Under ADOC policy and the

orders    of    this    court,       inmates      coming    directly    from

suicide    watch       also   cannot       be    placed    in   restrictive

housing in the absence of exceptional circumstances due

to the risk that the conditions of isolation may cause

them to relapse into suicidality.                 But with no definition

in     place,    ADOC       instead     sends      these    prisoners     to

segregation, as one provider put it, as “a matter of

course,”       Pls.    Ex.    3320    at    1,     obtaining     pro   forma

authorizations         in     minutes       with     no    evidence     that

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alternative     placements       were       considered    or     that    the

circumstances       were    exceptional        under     any     plausible

definition of the term.

     Within the restrictive housing units, the provision

of   mental-health      rounds        has   become    more     consistent.

Although Charles Braggs received no weekly mental-health

rounds for more than two months before his death, recent

audits    of   almost      all   of    the    major    facilities       show

significant compliance with these rounds.                 See Pls.’ Ex.

3255 (Bibb); Pls.’ Ex. 3258 (Bullock); Pls.’ Ex. 3264

(Easterling); Pls.’ Ex. 3269 (Fountain); Pls’ Ex. 3270

(Kilby); Pls.’ Ex. 3272 (Limestone); Pls.’ Ex. 3276 (St.

Clair);     Pls.’    Ex.    3318       (Tutwiler);     Pls.     Ex.     3320

(Ventress).     This is a recent improvement in many cases,

but it is a commendable one.

     Periodic    mental-health          assessments,     on     the   other

hand, continue to be conducted sporadically if at all,

particularly for inmates who are not on the mental-health

caseload.      Braggs received only two assessments in the

two years he had been in his segregation cell at St.

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Clair before he died.          Gary Campbell lived in restrictive

housing for nearly three years without a single periodic

assessment.          When these assessments or other contacts

lead    to    mental-health      referrals,       mental-health           staff

often fail to follow up on them appropriately.                       Laramie

Avery received two referrals in the weeks before his

death and was not seen.                Jaquel Alexander received an

urgent       referral    the     day    before     he    died,      and     the

mental-health provider was not notified of the referral

for    12    hours.      Casey    Murphree      received     an     emergent

referral less than 24 hours before his death--the most

acute referral level possible, which requires that the

inmate be seen within three hours.                 He was not seen for

the referral before he died.                As a result of the failure

to follow up on referrals appropriately, inmates who are

psychologically deteriorating in segregation are missed,

do not receive the mental-health treatment they need, and

too often decompensate to the point of self-harm and

suicidality.          Combined with the dearth of correctional

staff,       these     conditions       continue        to   make     ADOC’s

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segregation      units       dangerous       for      inmates       with

mental-health needs housed in them.



                             4.    Intake

    The court recognizes the hard work ADOC has put into

improving the intake process and ensuring that every

inmate receives a mental-health screening upon entering

ADOC custody.     The parties agree that ADOC has completely

overhauled its intake process since the time of the

liability opinion, and the evidence is clear that every

inmate who enters the system is currently receiving this

screening.      Moreover,     the    rate   of     identified    mental

illness in ADOC facilities has increased, and it now

falls within the expected range for both male and female

prison populations.         This is an encouraging turnabout

from the low rates found during the liability trial.

    While ADOC has made admirable improvements to intake

generally, there are nevertheless issues remaining that

require current relief.           As Dr. Burns noted, ADOC’s own

mental-health care provider recommended a variety of

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changes to the intake process in response to failures

identified      during   reviews        of   inmate     suicides.      In

particular, ADOC seems to have struggled to document and

follow up on the results of the intake screening.                     For

example,   the    psychological         autopsy   Wexford    conducted

after Laramie Avery committed suicide noted that, while

inmates    were    receiving      psychological         testing    during

intake, “there is no interpretation of the results and

it’s not incorporated into the inmate’s treatment during

his incarceration.”       June 2, 2021, R.D. Trial Tr. at 108.

After Charles Braggs committed suicide months later,

Wexford reiterated that recommendation, writing that,

“Psychological Assessments are highly recommended to be

interpreted at intake and assessed for any potential risk

factors    or   indicators     the      inmate    may    experience    an

underlying      mental   health    problem       that    needs    further

evaluation by a mental health provider.”                Charles Braggs

Psychological Autopsy (P-3284) at ADOC539024.                Dr. Burns

also noted these issues, expressing her concern that,

“although the tests were administered, the results were

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not being interpreted and used in the treatment of the

patients.”       June 7, 2021, R.D. Trial Tr. at 107.

       Nor has the department consistently made an effort

to ensure that all of an inmate’s previous mental-health

records,    which    may   contain       important   information      to

facilitate    the    inmate’s       treatment,   are    received     and

assessed so that providers can accurately determine who

is in need of care and what care is needed.                 This makes

it more likely that prisoners who should be on the

caseload will be missed and that providers will make

treatment decisions without access to information about

an inmate’s mental-health history that may be vital to

identify the inmate’s current mental-health needs.                  This

problem    was     realized    in    the   treatment     of   Marquell

Underwood.       In the course of a routine referral soon

after his intake screening, Underwood stated that he had

been     treated    for    bipolar       disorder    prior     to    his

incarceration and reported “an increase in mood swings,

including depression and irritability.”                May 24, 2021,

R.D. Trial Tr. at 56.         In response, his records were not

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requested and he was not placed on the mental-health

caseload.       Id. at 56-57.       Roughly 18 months later, he

committed suicide, without ever having been placed on the

mental-health caseload.           In his psychological autopsy,

Wexford noted its failure to request documents that may

have been relevant for his treatment, recommending that

in the future there be “[i]mproved continuity of care ...

between    county    jail   and    ADOC      for   any   mental   health

patients or inmates who may have presented with suicidal

ideations or self-harming prior to transport.”                 Marquell

Underwood Psychological Autopsy (P-3316) at ADOC518596.

    Also    a    concern    is    ADOC’s     continued    reliance     on

unsupervised LPNs to help conduct the intake screenings.

The court found in the liability opinion that LPNs lacked

adequate training and medical knowledge to conduct intake

and that utilizing them in that role contributed to

ADOC’s    under-identification          of   prisoners    with    mental

illness.    However, Dr. Burns testified that she had seen

LPNs continue to conduct intake screenings even after the

liability trial.        See June 2, 2021, R.D. Trial Tr. at

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206.    While these LPNs were supposed to be supervised by

RNs, Dr. Burns noted that for some of the records she

reviewed, it appeared that the RN had signed off on the

screening before it was even completed.               Id.

       While it is admirable that ADOC now appears to be

conducting intake for all inmates, that alone is not

enough. The department’s continued failure to adequately

track, interpret, and follow up on the results of the

intake screening contributes to the same inability to

identify inmates noted in the liability opinion, leaving

them without the care they need.



                             5.    Coding

       It is clear that ADOC has made enormous progress in

improving    its    coding    system     since    the   time    of    the

liability opinion.        Experts from both sides agreed that

ADOC had completely replaced its old number-based system

and that all inmates were now receiving the new codes—

indeed, the parties themselves stipulated to this.                    See

Joint Stipulation for the Evidentiary Hearing Regarding

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the Phase 2A Remedial Order (Doc. 3288) at 8; see also

note 2, supra.       ADOC also created an SMI designation flag

for the first time, and both parties agree that the flag

is   being    used    for    inmates.       It    is     clear    that    the

department has invested significant resources in creating

and implementing this new system, and the court notes

with    approval      the    improvements         in     identifying      and

tracking inmates that have resulted.

       However, the plaintiffs provided extensive evidence

that    the   documentation         of    codes    and     SMI    flags   is

inconsistent at best, which creates an opportunity for

inmates to fall through the cracks.                    Dr. Burns credibly

testified that she had found inconsistent documentation

in her review of inmates’ charts, including charts that

continued to reflect outdated codes, see June 8, 2021,

R.D.    Trial   Tr.     at    29,    coding       that     included      “not

applicable” notations, see June 2, 2021, R.D. Trial Tr.

at 205-06, and forms that failed to include inmates’ SMI

designations, see May 24, 2021, R.D. Trial Tr. at 70; May

25, 2021, R.D. Trial Tr. at 33; id. at 42.                       Indeed, on

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one form she reviewed, “both yes and no [were] circled

for SMI,” making it impossible to tell what the provider

intended to communicate.           June 9, 2021, R.D. Trial Tr.

at   32.    ADOC’s     internal     audit    of   its   mental-health

provider indicated an ongoing problem with codes on the

Master Problem List not matching codes listed on other

documents or in the Office of Health Services database.

See June 10, 2021, R.D. Trial Tr. at 113.                As Dr. Burns

testified, without accurate and consistent documentation

of inmates’ mental-health codes, it is difficult for

providers to “know where the mental-health caseload is,

who needs what sorts of services,” or which inmates might

need special attention.         June 2, 2021, R.D. Trial Tr. at

229-30.

     The court also finds that providers in ADOC are not

always coding inmates appropriately to their needs.                   Dr.

Burns presented extensive testimony about the failure of

providers to add inmates to the mental-health caseload

or increase their codes even in the face of overwhelming

evidence that they were in crisis.             For example, Laramie

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Avery was referred to mental-health several times before

his suicide, but he was never added to the mental-health

caseload.      See May 24, 2021, R.D. Trial Tr. at 50.

Marquell     Underwood     bounced      back    and    forth    between

restrictive housing and suicide watch and reported a

history of bipolar disorder, but he too was never placed

on the caseload before his suicide.                   See id. at 57.

Jaquel Alexander was not added to the caseload until

after the “fifth or [sixth] time” he was placed on suicide

watch, id. at 68, and inmate M.H. was actually downcoded

from MH-D to MH-B despite the fact that he had had several

recent incidents in which he cut himself and was placed

on watch, see May 25, 2021, R.D. Trial Tr. at 45. Wexford

flagged these failures as an issue in several separate

psychological autopsies, but there is no evidence that

any action was ever taken to improve the coding process

and ensure that inmates were receiving the appropriate

codes.     See May 24, 2021, R.D. Trial Tr. at 61, 70.

    Dr. Burns also pointed to several incidents in which

providers made decisions about an inmate’s mental-health

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code based on inappropriate factors.                  For example, Marco

Tolbert was downcoded from MH-D to MH-C simply because

he asked for it, despite the fact that he appeared

disheveled and depressed.              See id. at 19.          Casey Murphree

also   successfully          sought    to    be    downcoded      because   he

thought that it would help him get a job, even though he

gave       vague   responses     to     questioning        about    auditory

hallucinations and the provider had records showing that

he was not fully compliant with his medications.                      See id.

at 74.      Dr. Burns testified that ability to get a job is

not    an    appropriate       clinical       factor      to    consider    in

determining an inmate’s mental-health status and that she

saw no evidence that the team had discussed any proper

factors before Murphree was downcoded.                    See id. at 74-75.

There were similar issues with the SMI flags.                      Dr. Burns

identified         a   few   inmates        with    categorial      SMIs,   a

designation that is based on the type of mental illness

a person is suffering from and which one “would not expect

to    be    discontinued,”       but    the       flags   would    disappear

without explanation.            See id. at 173-77; May 25, 2021,

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R.D. Trial Tr. at 35-36; id. at 40.                    These failures

seriously call into question ADOC’s ability to accurately

identify, label, and track inmates’ mental-health needs,

even despite the department’s overhaul of its coding

system.



                            6.   Referral

      Referrals are the key means by which inmates who are

not on the caseload or who need additional care are

flagged     for    further       evaluation       by    mental-health

professionals.       As experts for both parties reported,

inmates depend on referrals to get care--“[i]t’s not like

they can pick up the phone and make an appointment with

somebody” themselves.         June 3, 2021, R.D. Trial Tr. at

18.    Referrals may be made by prison staff or by the

inmates themselves, and ADOC has adopted regulations that

lay out the process by which both groups may make a

referral.     Evidence presented at the omnibus remedial

hearings included several referrals made by both groups,

indicating that they are aware of and actively using the

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referral system.        While there is some evidence that this

process      is   not   always   used   by    inmates--Braggs,        for

example, had been asking for mental-health services for

two weeks before his suicide, according to the inmate in

the cell next to his, see May 24, 2021, R.D. Trial Tr.

at 119-20--it is encouraging that ADOC has created a

process that both inmates and staff feel comfortable

using as a means to request needed care.

      At the time of the liability opinion, ADOC did not

have a system to triage and identify the urgency of each

referral, which is vital to ensuring that requests are

met in a timely fashion and to avoid unnecessary delays

in the provision of care.         Since that time, however, ADOC

has   made    impressive    progress     in   developing      a   triage

process and implementing it throughout the prison system.

Most of the referrals viewed during the omnibus remedial

hearings had been triaged by a mental-health staff member

in a timely fashion, which is a major improvement for a

system that lacked any sort of triage process only a few

years ago.        ADOC has made real, important progress, and

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the court is confident that the department will continue

its   commitment     to     ensuring      that    triage      is   completed

quickly and thoroughly so that inmates can receive the

treatment they need. While ADOC has done an admirable

job in ensuring that referrals can be made, the system

falls apart at the follow-up stage.                 Over the course of

the     omnibus    remedial       hearings,       the    court      received

evidence     of    numerous       troubling       incidents        in    which

referrals were made but inmates did not receive care

within the required timeframes, if at all.                             In some

instances,      referrals     were     not   received         in   a    timely

fashion.        See May 25, 2021, R.D. Trial Tr. at 53-54

(noting late receipt of referrals made for inmate T.M.);

June 2, 2021, R.D. Trial Tr. at 100 (explaining that

there    were     seven   days    between        when    a    referral     for

Marquell Underwood was made and when it was received).

In other cases, it was unclear whether there was a

documentation       error    or    a   failure      to       provide     care.

Dr. Burns testified that there were “multiple episodes

in which the referral forms ... don’t show if there was

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a mental-health follow-up” at all, leaving her uncertain

about whether it had occurred.           May 26, 2021, R.D. Trial

Tr. at 17.       In the vast majority of cases, however, the

problem   was     that   mental-health      staff    did   not    timely

respond     to     the    referrals,       leaving      the      inmates

waiting--sometimes for months--on care.

    During the triage process, referrals are separated

into three categories, each of which requires a different

level of urgency of response.           The evidence presented at

the omnibus remedial hearings indicates that in practice,

the categories mean little.

    Emergent referrals indicate, as Dr. Burns explained,

that “the nurse has determined there’s an imminent risk

of injury or some otherwise necessary and immediate need

for mental-health services.”            June 3, 2021, R.D. Trial

Tr. at 25.        According to the defendants’ expert, the

common requirement in corrections is that these types of

referrals should be responded to within four hours.                   See

June 29, 2021, R.D. Trial Tr. at 221.                However, inmate

R.J. was not seen for three days after he received an

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emergent referral because mental-health staff were told

that there was no security to bring him out for the

assessment.     In the interim, he was not put on watch, nor

is   there    any    indication       that    mental-health        staff

attempted to go see him.           See May 25, 2021, R.D. Trial

Tr. at 118-20.

     Urgent referrals indicate that “there is an urgent

need, like an urgent care center type need.”                    June 3,

2021, R.D. Trial Tr. at 26.             Dr. Burns testified that

such a need “doesn’t have to be responded to instantly,

as in the immediate, or as soon as possible, like an

emergency need, but it does need to be responded to ...

within 24 hours.”       Id.    In ADOC, though, inmate T.M. did

not receive an assessment for three weeks after he set

himself on fire and received an urgent referral.                See May

25, 2021, R.D. Trial Tr. at 52.

     Routine referrals are made “for some nonemergency

purpose,” and Dr. Burns stated that mental-health staff

should have 14 days to respond.           June 3, 2021, R.D. Trial

Tr. at 26.       But frequently the timeframes were much

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longer.    Inmate A.J. was referred on February 28, 2020,

but he was not seen until May of that year.                 See May 25,

2021, R.D. Trial Tr. at 27.                Inmate W.S. received an

assessment     by   an    MHP     within    two    weeks,    but     that

assessment resulted in a referral to the CRNP that was

not followed up on for two more months.              Id. at 178.      And

at times, ADOC staff failed to respond at all.                        For

example, Laramie Avery received no response to either of

the routine referrals that were made in the weeks before

his suicide.     See May 24, 2021, R.D. Trial Tr. at 45-47.

Repeated efforts to access care seemed to do nothing to

speed up the process.        Inmate K.W. had five referrals in

less than a month, two of which were urgent, but there

were still 22 days between the first referral and when

he was seen, longer than would be acceptable under any

time frame.     See June 10, 2021, R.D. Trial Tr. at 12, 17.

    ADOC itself found low compliance scores with the

response   timeframes       for   all    three    levels    during    its

internal audits.         Despite the department’s awareness of

the problem, however, there is no evidence that ADOC has

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made    progress    in   avoiding     delays     and     ensuring    that

referrals are addressed within a reasonable period.

       As Dr. Burns testified, these failures to respond

are a “red flag” about the state of ADOC’s referral

system.    May 26, 2021, R.D. Trial Tr. at 95.               The point

of a referral is to get an inmate the care they need in

the    timeframe    in   which    they    need     it.     Delayed     or

inadequate    follow-up      undermines      the   efficacy     of    the

entire referral process.             Indeed, without follow-up,

referrals are essentially useless, and referrers are

doing nothing more than shouting into the void.                       And

failure to ensure that inmates are seen can have tragic,

irreversible consequences.          When mental-health staff did

not respond to the emergent referral for Casey Murphree

on the day it was made, he did not receive any care until

“he was found hanging” approximately 20 hours later.                  May

24, 2021, R.D. Trial Tr. at 76-77.




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                       7.    Confidentiality

      Confidentiality       is,   as    the    court       found   in   its

liability opinion and Dr. Burns testified during the

omnibus     remedial    hearing,        an    “absolutely      necessary

condition” for the adequate provision of mental-health

care.    June 3, 2021, R.D. Trial Tr. at 14.                Inmates must

feel safe enough to speak freely with mental-health staff

and disclose personal, sensitive information that is

relevant     to   their     treatment.             Confidentiality      is

particularly vital in the prison setting, where inmates

may     “become   vulnerable      later       to    some    taunting    or

blackmail or extortion” if staff or other inmates can

overhear their sessions with mental-health staff.                       Id.

However, evidence from the omnibus remedial hearings

indicated that the department still struggles to provide

confidential spaces for treatment and to ensure that

treatment consistently occurs in a confidential setting.

      It would not be fair to ADOC to say that inmates

never receive confidential mental-health services.                       In

fact, the court was encouraged to note that many of the

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sessions discussed during the trial occurred in out-of-

cell,     confidential       settings.        However,     given      the

importance of confidentiality to effective mental-health

treatment, the court remains concerned about the number

of instances of non-confidential sessions raised during

the hearing. As Dr. Burns testified, some facilities have

extensive confidential treatment space close to where

inmates are housed, which is useful for holding sessions

with inmates.      See, e.g., May 25, 2021, R.D. Trial Tr.

at 155 (describing the confidential area at St. Clair);

June 7, 2021, R.D. Trial Tr. at 65 (describing the

confidential     treatment      space    in   Bullock).        However,

out-of-cell spaces are not always used in ways that

maintains confidentiality.           Dr. Burns discussed several

inmates    whose    sessions     were    interrupted,       destroying

confidentiality.       For example, inmate DR was seen in an

office, but “people were in and out of the office,” making

it difficult for him to talk openly with his counselor.

May 25, 2021, R.D. Trial Tr. at 88.                 And inmate A.E.

reported that, because he saw his counselor at the same

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time    that    he    saw       the    doctor,     he    had    not    had   a

confidential, one-on-one session in years.                       See id. at

90.

       Several progress notes described sessions held in

what were referred to as “semi-confidential” settings,

where the participants were in a setting where they could

be    overheard      but    were      directed    to    speak    quietly     to

maintain    privacy.            Tommy    McConathy       received       crisis

counseling “behind a screen” where he and the provider

simply talked “with low voices.”                   Id. at 6.          Progress

notes for inmate A.J. indicate that he was seen for

treatment      in    spaces      where    he     and    his    mental-health

provider       had         to    “sp[eak]         quietly       to      ensure

confidentiality.”           Id. at 26-27.        This does not actually

ensure confidentiality, and it is not sufficient to meet

the court’s directive.             As Dr. Burns explained, it is not

appropriate to think of confidentiality as “partial or

semi.     It’s either all or none.”                    May 24, 2021, R.D.

Trial Tr. at 156-57.             And it is particularly vital that

ADOC make every effort to provide confidentiality for

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treatment sessions given the tragic consequences that can

result when inmates do not receive effective treatment.

The court reiterated the importance of confidentiality

during the suicide prevention hearing, and Dr. Burns

noted that she had seen the issue of confidentiality

arise in a number of recent suicides and serious suicide

attempts.    See id.

      Nor   is   it    appropriate       for   ADOC    to    give    up    on

providing    confidential         treatment    to     inmates       who   are

hesitant or unwilling to leave their cells.                   Several of

the   instances       of     non-confidential       sessions    involved

inmates who refused to come out of their cells, which the

court acknowledges can be difficult for staff to address.

For example, Gary Campbell repeatedly refused to come out

of    his   cell      for    sessions    and    had    only     cell-side

interactions       with      mental-health     staff    in    the    months

before his suicide.           See May 24, 2021, R.D. Trial Tr. at

128-29.     However, the responsibility to get inmates the

care they need, even in the face of their noncompliance,

rests with ADOC.            Dr. Burns convincingly testified that

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there was more that the staff could have done to try to

ensure confidentiality, including coming back on another

day or asking a higher-ranking staff member to make the

request.     See id. at 131-33.                As ADOC’s own regional

psychologist noted in reflecting on Campbell’s suicide,

he remained in his restrictive housing unit cell for two

years “because he was allowed to ... That was stressful

and he was not even aware that talking to someone could

have been helpful.”        Email from Nina Tocci Regarding Gary

Campbell’s Suicide, P-3267 at 1.

       The   court    is       also     troubled           by     the     impact

understaffing       continues     to    have        on    the    provision    of

confidentiality.          Even in facilities with confidential

treatment       spaces,     out-of-cell         interactions             require

sufficient staff to escort inmates to their sessions and

stand watch to address any safety issues.                       When there are

not    enough    staff    to    transport       and       monitor       inmates,

mental-health staff are forced to go to the inmates and

hold     sessions     cell-side,            which        are    not     at   all

confidential.       There were a number of instances discussed

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during the omnibus remedial hearings in which inmates

were not being removed from their cells for counseling

sessions. Inmate M.W. received “many cell-side contacts”

during his stay in the Bullock SU, May 25, 2021, R.D.

Trial Tr. at 40, and inmate A.C. reported that he was not

offered any confidential treatment while in the same

unit, but that “the counselor came to the door to see him

a couple of times a week,” June 2, 2021, R.D. Trial Tr.

at 69.     Inmates that Dr. Burns spoke to at St. Clair

reported that they were not always removed from their

cells for counseling sessions.             See June 7, 2021, R.D.

Trial Tr. at 86.         And inmate Danny Tucker received a

follow-up session after he was released from suicide

watch that was held cell-side, just hours before he

committed suicide in that same cell.             See June 24, 2021,

R.D. Trial Tr. at 16.

    ADOC’s     own   audits    highlighted       the   problems     with

confidentiality at many facilities.                Though Dr. Burns

described some of the issues with the audits, including

small sample sizes, the court is still concerned that the

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results, taken as a whole, show an overwhelming failure

to provide treatment in confidential spaces.                   Multiple

facilities    received      compliance     scores    below    50    %    on

confidentiality, including Bibb, Easterling, Donaldson,

and Limestone.        See Bibb Audit Report (P-3256) at 5

(scoring     30.77    %    compliance     with      confidentiality);

Easterling    Audit       Report   (P-3266)    at    5-6   (26.09       %);

Donaldson    Audit     Report      (P-3263)    at    6-7   (22.54       %);

Limestone Audit Report (P-3273) at 6 (14.81 %).                          No

facility scored above 70 % on the audit.              Even accounting

for the flaws in the audits, these numbers are troubling,

and they indicate a widespread and ongoing issue with

ensuring confidential treatment for inmates.




                 8.   Treatment Teams and Plans

    Since the court found in the liability opinion that

ADOC’s treatment planning process was inadequate and

resulted    in   incomplete,       generalized,       or   nonexistent

plans, the department has made encouraging progress.

Neither the plaintiffs’ expert nor the defendants’ expert
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could identify an inmate on the mental-health caseload

who lacked a designated treatment team, a reflection of

the department’s commitment to ensuring that every inmate

receives consistent, individualized treatment planning.

ADOC   has   also    created       new    forms   for    treatment-team

meetings to assist mental-health staff in determining who

needs to attend the meetings and the timeframes in which

they must be completed.             Based on the treatment plans

discussed during the omnibus remedial hearings, it seems

that the forms have been successful in ensuring that

individuals who should attend meetings are actually in

attendance and that those who must miss a meeting are

prompted to review the minutes and remain current on the

inmate’s treatment status.           Though the results of ADOC’s

own audits of treatment teams indicate only mixed levels

of compliance with the requirements that each inmate have

a specified treatment team and that the team consist of

all relevant staff members, it appears that ADOC has made

significant     progress      in     ensuring     that    inmates     are



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assigned    treatment     teams    made    up   of    relevant     staff

members.

    However, there has been less consistent improvement

in ensuring that treatment teams are meeting frequently

enough to address inmates’ changing needs.                   Treatment

teams provide no benefit if they are not actually meeting

to check on inmates’ progress and adjust their treatment

as necessary.       The need for treatment-team meetings is

linked to inmates’ mental states:            It is even more vital

that the team meet, and that they do so more frequently,

for inmates who are housed in more intensive units,

because those inmates tend to be “more unstable” and may

need their care to be fine-tuned.               June 3, 2021, R.D.

Trial Tr. at 161.        Testimony from the omnibus remedial

hearings revealed a worrying pattern of treatment teams

not meeting to discuss inmates for months at a time.                  One

inmate, M.M., did not have any treatment-team meetings

for eight months, from July 2020 to March 2021.                See June

9, 2021, R.D. Trial Tr. at 211.             By the time Dr. Burns

spoke with him, in March 2021, she reported that “it was

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apparent    that    he    needed     more    frequent       contact   and

monitoring of his condition.”            May 25, 2021, R.D. Trial

Tr. at 97.      This held true even for inmates who were

housed in intensive inpatient units.                For example, when

inmate A.E. was housed in the residential treatment unit,

he should have had treatment-team meetings once a month.

See June 9, 2021, R.D. Trial Tr. at 206.                        But his

treatment records indicate that the team instead met only

once every four months. See id. at 191. When a treatment

team fails to meet at sufficient intervals, inmates may

end up failing to get the level of care they need.                    And

the   consequences        can   be    tragic--as        documented     in

Wexford’s    own    psychological        autopsy,       there   was    no

indication that Jaquel Alexander’s treatment team met a

single time after he was placed on the caseload.                 See May

24, 2021, R.D. Trial Tr. at 70.                  He committed suicide

just two months later.          See id. at 68.

      When treatment teams do meet, evidence presented at

the omnibus remedial hearings suggests that they may not

always   meet    for     long   enough      to   have   a   substantive

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discussion.          Dr. Burns testified to seeing records of

treatment-team meetings that lasted “[o]ne minute, three

minutes, six minutes maybe.”             May 25, 2021, R.D. Trial

Tr. at 110.      And several of these meetings were combined

with other treatment sessions, leaving even less time for

the team members to review the inmate’s progress and

determine if adjustments were necessary.                 For example,

one team meeting that was listed as lasting for six

minutes included a simultaneous medication management

session.       See id.       A meeting that lasts mere minutes is

not sufficient to allow for careful, thorough review of

an inmate’s file.             As Dr. Burns testified, she would

expect even a normal, follow-up treatment-team meeting,

when “there are no changes and things are going just

fine” to last at least 15 to 20 minutes. Id. at 135.                   It

is difficult to imagine that the treatment team could

discuss an inmate in any real detail in less than half

that time.

       Treatment teams also frequently lack the information

they    need    to    make    accurate   decisions    about    inmates’

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mental-health      needs     and     the    care     they   should     be

receiving.      Dr. Burns detailed dozens of examples of

major events that were not included in inmates’ files.

For example, Casey Murphree had a treatment plan review

in October 2019, around the same time as he was involved

in   “at   least   five    violent       altercations     resulting    in

injury.”     May 24, 2021, R.D. Trial Tr. at 82.               However,

these altercations were “not reflected in any of the

mental-health documentation during this period.”                 Id.   As

a result, Dr. Burns testified, “the people providing his

care were unaware that these things were happening, which

would have been a trigger to potentially increase their

level of contact or nominally look at his medication

compliance to see how he was doing.”               Id.   Without access

to this information about Murphree’s clear deterioration,

it was impossible for the treatment team to provide an

accurate assessment of Murphree’s progress or develop a

treatment plan that would actually address his needs.

     This pattern was repeated over and over again. There

was poor documentation of inmates’ behavioral outbursts,

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as when inmate Travis Jackson set fire to his cell and

received a crisis assessment, but the information was not

added to his mental-health record. See id. at 145. There

was poor documentation of medical issues that could be

relevant to an inmate’s mental-health treatment, as when

inmate J.F. was hospitalized and diagnosed with atrial

fibrillation, but there were “no notes or any indication

in discharge planning that medical ... became part of his

treatment    team   to   talk    about     things   like    medication

prescriptions or follow-up.”             May 25, 2021, R.D. Trial

Tr. at 37.      These widespread issues with documentation

made it difficult for the treatment teams to get a clear

picture of the inmates they were caring for, resulting

in missed opportunities for additional care or needed

interventions.

       As a result of these issues, many treatment plans

remain    inadequate     to   address      the   needs    of   inmates.

ADOC’s own audit of its treatment planning process found

that     “master    treatment      plans    and     treatment      plans

following an inmate’s discharge from suicide watch are

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frequently omitted.”        May 26, 2021, R.D. Trial Tr. at 17-

18.     When the audit team was able to find and inspect

treatment plans, it found that they “were often of poor

quality,    were    left    incomplete,      or    otherwise     lacked

necessary documentation.”           Id.     Compliance percentages

at various facilities were low, to the point that the

auditor heralded as “progress” the fact that Fountain had

“recent treatment plans for about half of the charts

reviewed” during a spot audit.               Id. at 115.         Jaquel

Alexander serves as a sobering example of the outcome of

these inadequate treatment plans.            Alexander, whose long

history    of   self-injury      and    suicide    watch    placements

indicated that he was in desperate need of treatment, was

not provided with a treatment plan at all once he was

added to the caseload.         See May 24, 2021, R.D. Trial Tr.

at 68.    At the time he killed himself, four months later,

there was no indication that his treatment team had ever

met.     See id.

       Not only are treatment plans frequently inadequate,

they are also not being amended to address changes in

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inmates’ needs or circumstances.               Treatment planning is

particularly crucial at transition points, when the risk

is highest that information may be lost and that the

consistency of care may be interrupted.                   However, Dr.

Burns testified that in her review of patient records,

she found that there were “not always ... treatment plan

changes when there’s a significant event, like removal

or placement off watch or discharge into outpatient from

a residential treatment unit.”           May 26, 2021, R.D. Trial

Tr. at 18.     For instance, when inmate Marco Tolbert was

released    from    the   residential      treatment      unit    to    an

outpatient unit, his treatment plan was not updated.                   See

June 2, 2021, R.D. Trial Tr. at 97.             He committed suicide

three   months      later,    without      having     been    seen      by

mental-health staff once since his release.                  See id. at

96.     ADOC’s     internal    audits     of    various    facilities’

compliance with the requirement to update treatment plans

after major events also showed low rates of compliance.

Several facilities scored in the single digits.                        See

Bullock RTU and SU Audit Results (P-3260) at 9 (showing

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11.39 % compliance on major event movements); Bullock

Outpatient    Audit     Results    (P-3263)      at   10-11    (2.92       %

compliance); St. Clair Audit Results (P-3277) at 7 (7.14

% compliance).       Dr. Burns expressed particular concern

about these results, noting that it was “worrisome” that

inmates in need of care would have the opportunity simply

to fall through the cracks.          May 26, 2021, R.D. Trial Tr.

at 103.

    Indeed, ADOC’s transfer process is haphazard and

poorly documented, exacerbating the inadequacies of the

treatment plans.        As the court found in the liability

opinion, the transfer experience can be particularly

difficult for mentally ill inmates, since they often

struggle to adjust to their new environment and develop

trust with a new set of providers.               See Braggs, 257 F.

Supp. 3d at 1241 n.67.        In ADOC, mentally ill inmates are

moved between units and facilities frequently, often

without any documented consideration of the impact these

moves might have on their mental state or care.                     When

inmate T.M. was sent to the residential treatment unit,

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there was “no transfer note indicating why” or explaining

what kind of treatment he needed.               May 25, 2021, R.D.

Trial Tr. at 53.        When he was released from that unit,

the   same   thing    happened--he       was   released     without        a

“discharge note or transfer note” to notify his new unit

that he was coming.       Id.   Inmate J.F. bounced around from

Kilby to Bullock to Bibb to Donaldson and then back to

Bullock, all without any transfer notes or discharge

plans.   See id. at 36.       Inmate M.W. was also transferred,

in his case from the stabilization unit to an outpatient

level of care, with no “discharge notice or transitional

note to the outpatient team.”             Id. at 39-40.        In fact,

the psychiatrist who directed the discharge was told that

it happened by the inmate himself--there was either no

notice of it in the inmate’s chart or the psychiatrist

did not have the chart.         See id.

      The transfer documentation that does exist is not

always accurate.       For example, when Jaquel Alexander was

transferred from Ventress to Donaldson days before his

death, the transfer form incorrectly indicated that he

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had     no    SMI     designation.          See    Jaquel     Alexander

Psychological Autopsy (P-3298) at ADOC539037.                  The lack

of clear and consistent communication between units means

that relevant information is lost, impacting patient

care.        The   mental-health     staff    member    who   completed

Alexander’s        risk   assessment      after   his   transfer,     who

indicated no familiarity with his prior risk factors,

identified him as a “low” risk of harm to self.                Id.    And

sometimes, inmates themselves simply get lost in the

shuffle.      For example, when inmate M.H. was released to

the residential treatment unit from suicide watch, his

records indicate that he was not seen by mental-health

staff for a week, despite his obviously fragile state.

See id. at 44.             This lack of adequate communication

between providers further disrupts the continuity of

inmates’      care,       leaving   staff    members     without      the

information they need to provide proper treatment.




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                        9.    Psychotherapy

    Even when inmates are assessed and identified as in

need of care, assigned a treatment team, and provided

with a plan to address their particular mental-health

concerns, they frequently find themselves without most

or all of the treatment they have been prescribed.                     At

the time of the liability opinion, the court made clear

that ADOC’s treatment modalities--that is, the types of

interventions that are provided to inmates with mental-

health      needs--were        insufficient          to    meet       the

constitutionally          required        standard         of      care.

Unfortunately, the court has not seen much improvement

in ADOC’s provision of mental-health treatment since that

time.     Though the court recognizes that ADOC has dealt

with enormous challenges in trying to continue treatment

during the COVID-19 pandemic, these deficiencies were

present    even   before     facilities      began    to   lock    down.

Inmates in ADOC custody are regularly being denied access

to the care they needed, an ongoing violation of their

constitutional rights.

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       In some cases, there are logistical problems that

prevent inmates from receiving certain forms of care at

all.     Several inmates reported to Dr. Burns that they

were not being notified when treatment like group therapy

or pill call was available, causing them to miss it.                  See

May 25, 2021, R.D. Trial Tr. at 28; id. at 142.                In other

cases, inmates received their prescribed treatment, but

far less frequently than they should have.              This was true

even in the units that should be providing heightened

levels of care:       Dr. Burns testified that inmates have

insufficient       access      to     treatment      across      ADOC’s

residential      treatment       units,     stabilization        units,

structured living units, and outpatient units.                  See id.

at 192; May 26, 2021, R.D. Trial Tr. at 16.                Inmate A.E.

had been without a single counseling session for six

months, even though he was in a residential treatment

unit and psychotherapy was included in his treatment

plan.    See May 25, 2021, R.D. Trial Tr. at 89.                 Inmate

D.R. said that he was “really only seen very infrequently

for counseling sessions,” id. at 87, while inmate M.M.

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said that he only “sees his counselor every once in a

blue    moon,”   id.   at   97.      Perhaps    most     concerningly,

several of the men who recently committed suicide were

receiving less care than their treatment plan called for.

Marco Tolbert, for example, was not seen by mental-health

staff for the three months he was in general population

after being released from the RTU.                See May 24, 2021,

R.D. Trial Tr. at 22.         Casey Murphree’s provider made a

note to follow up with him in 30 days to monitor his

depression, anxiety, and attention deficit disorder, but

he was not seen.            See id. at 76.          And one of the

recommendations         included         in      Jamal       Jackson’s

psychological autopsy was that mental-health staff should

actually follow up with all patients “as written on the

treatment plans,” which they had failed to do for him.

June 2, 2021, R.D. Trial Tr. at 112.

       When they do occur, counseling sessions are often

far too short for any real treatment to occur.                Dr. Burns

identified a disturbing pattern of counseling sessions

that lasted only “[a] matter of minutes.”                May 25, 2021,

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R.D. Trial Tr. at 53; see also id. at 82 (“[S]ome of

those notes were just really a minute or two long in

length in terms of an individual session.”); id. at 110

(“The individual contacts that are documented in the

records for people in the SLU by mental-health staff were

extraordinarily brief so that, again, these are two or

three   minute     sort      of     discussions.”);      id.    at    129

(“[T]hat’s     been    [a]        recurrent   theme     about    people

having ... very little time with their counselor ....”).

As she explained, sessions that brief cannot really be

considered counseling:            “[Y]ou wouldn’t be able to cover

any information in the space of two minutes about what

the counseling is about.            If it’s about family stress or

if it’s about grief counseling or if it’s about trauma

counseling, you barely have any time to discuss not only

what the inmate patient’s feelings are, but also to

provide any guidance or suggestions for how to make

things improve. Two minutes just isn’t enough time.”                  See

id. at 135-36.        Indeed, Dr. Burns testified that these

sessions did not even last as long as she would expect a

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check-in or “supportive kind of chat” to be, let alone a

therapeutic        treatment    session.       Id.   at     136.      The

defendants’ expert, Dr. Metzner, echoed Dr. Burns, noting

that he would have “concerns, significant concerns” about

any counseling session that lasted only three minutes.

July 1, 2021, R.D. Trial Tr. at 168.

       ADOC   has    particularly       struggled    to    consistently

provide group therapy.           Many of the records discussed

during the omnibus remedial hearings involved recent

cancellations of groups, which are attributable in large

part to the COVID-19 pandemic.              ADOC largely shut down

group treatment for several months at the start of the

pandemic,      a    decision    that     was   in    line    with     CDC

recommendations        and     which     Dr.    Burns      agreed     was

appropriate under the circumstances.             See June 21, 2021,

R.D. Trial Tr. at 93, 101-02.            And there is evidence that

ADOC has begun to reinstitute groups at many facilities

as it loosens its lock down.                See id. at 89-90, 93.

However, even before the pandemic hit, inmates reported

that     groups     were     sparsely     offered    and    frequently

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cancelled.       Based on her extensive review of patient

records,    as   well    as   conversations       with    inmates     and

Wexford’s monthly client reports, Dr. Burns concluded

that “people are not getting the number of groups in the

residential treatment unit.               They’re not getting the

groups in SLU.      They’re not getting the groups in SU ...

there are ... not enough groups, not enough structured

therapeutic activity going on.”            May 26, 2021, R.D. Trial

Tr. at 56-58.      ADOC itself came to the same conclusion.

In a letter the department sent to Wexford before the

pandemic, ADOC concluded that group therapy was not being

provided at a sufficient level in RTU, SU, or SLU units.

See id. at 16.

     Beyond the lack of groups, inmates housed in ADOC’s

inpatient units are not receiving sufficient out-of-cell

time in general.        Dr. Burns called it a “common theme”

among inmates she talked to that they were not receiving

an   appropriate     amount    of    structured     or   unstructured

out-of-cell time.       May 25, 2021, R.D. Trial Tr. at 192.

“[R]ecords and interviews” from the Bullock SU revealed

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that inmates are not receiving sufficient structured or

unstructured time.         Id. at 85-86.          There are similar

issues in the Tutwiler RTU and SU, see id. at 70-71, the

Bullock RTU, see id. at 99-101, the Donaldson RTU, see

id. at 110, and the Donaldson SU, see id. at 140. Indeed,

the investigator looking into Tommy Lee Rutledge’s death

in Donaldson’s RTU reported that “inmates never leave

their cells.”      Id. at 149.      And insufficient out-of-cell

time in mental-health units is particularly egregious

given that it undermines the purpose of the units, which

is to provide inmates with more intensive treatment and

support. Without any out-of-cell activities, these units

instead end up functioning very much like restrictive

housing units instead.         See id. at 219.

    This inadequate out-of-cell time cannot be blamed on

COVID-19 restrictions, though the court does note that

the pandemic may have exacerbated the problem.                Dr. Burns

testified to having seen “months and weeks of operation”

before the pandemic in which inmates were not receiving

the proper amount of out-of-cell time.                 May 25, 2021,

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R.D. Trial Tr. at 218. Defendants’ expert Dr. Metzner

agreed, reporting that while inmates are “not getting 10

and 10, you know, related to COVID issues,” it also

“wasn’t happening” pre-pandemic. June 1, 2021, R.D. Trial

Tr. at 202-03.

       This finding applies with equal force to the SLU.

Although it is not an inpatient unit, the SLU is intended

to provide a more supportive, treatment-based alternative

to segregation for inmates with mental illness.                However,

the current lack of programming in ADOC’s SLUs means that

they     are   functionally       indistinguishable          from     the

restrictive housing units.            Indeed, plaintiffs’ expert

Vail testified that inmates in the Donaldson SLU were

getting less out-of-cell time as they should have gotten

in the restrictive housing units.            See May 28, 2021, R.D.

Trial Tr. at 78-80.

       Problems with the provision of care are not limited

to inmates on the mental-health caseload. Inmates who are

not on the caseload but who are in need of mental-health

care must be still be provided with adequate treatment,

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and it is just as urgent that they receive the care they

need as it is for inmates who are on the caseload.

Decompensation in prison is common, and emergent mental-

health needs must be taken seriously. A review of recent

suicides in ADOC custody demonstrates the stakes--several

of    the    men   who   killed    themselves     were    not      on   the

mental-health caseload, and despite warning signs, they

did    not    receive    appropriate     interventions        in    time.

Laramie Avery reported both a history of mental-health

treatment and symptoms of mental-health issues, and he

received numerous referrals.             See May 24, 2021, R.D.

Trial Tr. at 50. Nevertheless, mental-health staff never

responded or performed a more comprehensive assessment.

See id.      Jamal Jackson presented with psychotic symptoms

in December, but by the time he committed suicide in May,

mental-health staff had not followed up with him once.

See   id.    As    Dr.   Burns    reported    from    interviews        she

performed at Donaldson, inmates in general population

find it difficult to get a response from mental-health

staff, let alone a timely response, leaving them without

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anyone to talk to about their concerns.                   See May 25,

2021, R.D. Trial Tr. at 110.

       Finally, documentation of the treatment that does

occur is frequently inconsistent or incomplete, making

it   difficult    to    ensure     that    an    inmate   is   receiving

appropriate      treatment        and     to    effectively    maintain

continuity of care. For example, progress notes sometimes

contained outdated or incorrect information or failed to

explain major changes in an inmate’s care. Inmate JF’s

file    contained      progress    notes       that   “appeared   to   be

pre-written” and contained inaccurate information, such

as concluding that he should stay on watch when he had

already been taken off watch. May 25, 2021, R.D. Trial

Tr. at 34-35. And there was no explanation in Danny

Tucker’s record for the fact that his SMI flag was

removed, see May 24, 2021, R.D. Trial Tr. at 178-79, or

why he was downcoded to MH-A, see id. at 181.                  Dr. Burns

explained that without any information about why these

treatment decisions were made, it would be difficult for



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other providers to verify whether they were appropriate.

See id. at 178-79.

      In some cases, it appeared that no progress note was

written at all. A note on a referral for inmate W.S.

indicated that he was seen by a mental-health provider,

but   there   was    not    “an   actual       note   describing    that

interaction with him in the chart. Just that he was seen

by the MHP on that date.” May 25, 2021, R.D. Trial Tr.

at    178.    This    issue      was    also   flagged    in    Marquell

Underwood’s     psychological          autopsy,   which    recommended

that “anytime an inmate is seen by MH for a referral, it

is recommended a note, other than writing on the referral

form, is generated. This note is recommended to include

the plan, referral to other providers, and any further

course   of   action     taken    with     the    inmate.”     Underwood

Psychological Autopsy (P-3316) at 15.

      ADOC itself acknowledges the deficiencies in the care

being provided.       In a letter to Wexford, the department

chastised the company for the “pattern of failure of

mental-health       staff   to    meet    with    their   patients     at

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required intervals and to conduct group therapies on a

routine basis.”        May 26, 2021, R.D. Trial Tr. at 16.

This letter was sent before ADOC facilities began to lock

down     because     of    the     COVID-19     pandemic,       further

diminishing the amount of care being offered. However,

in the years since the liability opinion, ADOC has failed

to demonstrate any real, lasting improvement, even in the

face of overwhelming evidence that inmates are receiving

a level of care that is constitutionally inadequate.



                      10. Suicide Prevention

       At the time of the liability trial, ADOC had just

begun     using     suicide      risk    assessments     to    identify

prisoners at risk of self-harm.             Today, the provision of

those assessments has improved substantially; they are

broadly used during the intake process and are frequently

employed     elsewhere    in     ADOC’s    mental-health      treatment

system.      The availability of crisis cells has increased

as   well,    and   monitoring      of    inmates   in   crisis    cells

appears generally adequate.              ADOC no longer seems to be

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using pre-filled forms to indicate the times of checks

for inmates on close watch.           See June 8, 2021, R.D. Trial

Tr. at 90.       ADOC has also implemented a constant watch

procedure       for   acutely    suicidal         inmates,     a   critical

component of suicide prevention.

       These are significant steps for which the department

should be applauded.          Where ADOC continues to fall badly

short in its provision of mental-health care to suicidal

inmates,    however,      is    in     the    areas       of   assessment,

discharge, and follow-up from suicide watch.                        Inmates

placed on suicide watch too often do not receive suicide

risk assessments.        Recent audits of Donaldson, Hamilton,

Bullock, and Ventress found moderate or poor compliance

with     requirements      to    conduct          these    suicide      risk

assessments--assessments          that       defendants’       expert    Dr.

Metzner testified were “dangerous” not to do well.                      July

1, 2021, R.D. Trial Tr. at 158; see also Pls. Ex. 3559

(Donaldson); Pls. Ex. 3562 (Hamilton); Pls. Ex. 3558

(Bullock); Pls. Ex. 3626 (Ventress).                Equally troubling,

ADOC    often    fails   to    ensure      that    prisoners       requiring

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suicide   watch     are    considered      for   placement      on    the

mental-health caseload, even those with repeated suicide

watch placements in a short period of time.                    Marquell

Underwood, Jaquel Alexander, and Travis Jackson all had

repeated suicide watches before their deaths without

being considered for the mental-health caseload, and only

Alexander was eventually placed on the caseload after a

series of suicide watches.

    Moreover, in spite of longstanding ADOC policy and

this court’s orders, prisoners are routinely discharged

from suicide watch directly to restrictive housing with

no evident consideration or documentation of exceptional

circumstances justifying the placement.              One provider at

Ventress was chastised for candidly admitting during a

spot audit of the facility that prisoners are sent from

suicide watch to segregation as “a matter of course”; she

was instructed to discuss the facility’s practices in

less blunt terms. Pls. Ex. 3320 at 1. Emails authorizing

segregation placements for prisoners coming from suicide

watch indicated that the transfers are often approved in

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a matter of minutes after a request is made.                    Pls. Dem.

Ex. 268.         This continued practice was implicated in

several of the recent suicides.               See, e.g., May 24, 2021,

R.D. Trial Tr. at 139-40 (discussing Travis Jackson).

     Finally, inmates discharged from suicide watch still

receive inadequate follow-up assessments and treatment

to ensure that they do not decompensate and relapse into

suicidality.         During        the   suicide      prevention     trial,

defense     expert      Dr.    Perrien      testified    that   follow-up

evaluations in the days immediately after a person is

discharged from suicide watch are “absolutely necessary.”

Braggs, 383 F. Supp. 3d at 1264.                But ADOC continues to

struggle to conduct the follow-up assessments required

on   each   of    the    first      three    days   after   inmates     are

discharged from suicide watch.               For example, inmate J.B.

attempted     suicide         by   overdose,    was    placed   on    acute

suicide watch, and was moved to non-acute suicide watch

all in the course of a single day, but he received no

follow-ups at all once his suicide watch was discontinued

the next day.      See May 25, 2021, R.D. Trial Tr. at 49-51.

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Audits   of   ADOC     facilities       show    problems       with   this

obligation as well; Bullock, for instance, was found in

March 2020 to have only 40-50 % compliance with any of

the follow-ups required after a prisoner is discharged

from suicide watch.         See Pls. Ex. 3558 at 1.

     These    ongoing       inadequacies       in    ADOC’s    system   of

suicide prevention are exacerbated by the broader problem

of   correctional      understaffing       in       the    prisons.     As

discussed above, Wexford has identified the “lack of

security presence” as “a major contributing factor to the

ongoing and excessively high levels of contraband, inmate

drug use, and inmate-on-inmate violence,” which in turn

“increases fear and suicidal thinking” among inmates.

Pls. Ex. 3323 at 2 (emphasis removed).                    This has led to

a “dramatic increase in suicide watch volume” of 4,348 %

over the hours anticipated in Wexford’s contract, leaving

Wexford, in its words, “with no choice but to replace the

performance      of     routine     mental-health            tasks...with

providing crisis-level services, to ensure the safety of

our patients.”        Id.

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      The court reiterates these findings in part because

they shape the court’s consideration of an issue hotly

disputed between the parties during the omnibus remedial

hearings: the rate of suicides in ADOC facilities in

recent years relative to rates in other state prison

systems.     The parties presented contrary data on this

question, each with its own set of flaws. The plaintiffs’

figures, which purported to show that ADOC’s suicide

rates are much higher than the national average among

prison systems, were based on a cross-year comparison

that, according to Dr. Metzner, distorted the numbers.

See   June   30,   2021,    R.D.    Trial    Tr.    at   72-73.       The

defendants’ data, which they claimed showed that Alabama

prisons have a very low rate of suicides, in fact appeared

to demonstrate the opposite: the defendants presented a

report showing that the average annual rate of suicide

in ADOC prisons from 2001 to 2018 was among the lowest

in the country--far lower than the annual rate of suicide

in ADOC facilities from 2018 to 2020--suggesting that

suicide rates at ADOC have risen dramatically in recent

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years.   Compare Pls. Ex. 3223 at 19, with, Pls. Dem. Ex.

265.12

      Deaths by suicide are the very worst outcomes of

deficiencies in a prison system’s mental-health care, but

they are also rare events, both in Alabama and elsewhere.

A few instances of good or bad luck during serious suicide

attempts can make the difference in a given year between

a high suicide rate and a low one.               See June 30, 2021,

R.D. Trial Tr. at 7-8.           More important to the court’s

assessment of ADOC’s current suicide prevention system

was   Wexford’s     compelling         explanation     that    whatever

suicides   ADOC    prevents,      it    does   not   by   successfully

identifying and addressing the mental-health needs of

suicidal    inmates,     but   by   the    brute     force    tactic   of

pouring an unsustainable number of man-hours into close

and constant watch, to the exclusion of other critical


    12. The defendants did not contest that the
plaintiffs’ calculation of the annual suicide rate in
ADOC facilities from 2018 to 2020 was accurate.    They
claimed instead that the plaintiffs’ comparison of that
rate to the national suicide rate across prison systems
was skewed.   See Defs.’ Post-Trial Br. (Doc. 3367) at
104. The court does not rely on that comparison here.
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mental-health services.        This is not a suicide prevention

system; it is a crisis management system.                     Wexford’s

decision to pile its resources into the watch procedures

as a last-ditch means of averting suicide does not mean

that ADOC is performing adequately in the area of suicide

prevention.      To the contrary, its suicide prevention

system remains badly broken, ultimately provides little

but constant and close watch to prevent death, and cannot

realistically be fixed without sufficient correctional

staff to make it possible for Wexford to start moving

mental-health resources into other aspects of care.



                   11. Higher Levels of Care

    Within     ADOC,    two    kinds    of     units    are   available

offering an inpatient level of care: the residential

treatment units, or RTUs, which are short- or long-term

placements      for      inmates        with     very      significant

mental-health needs who are at risk of decompensation in

less restrictive settings; and the stabilization units,

or SUs, which are designed to provide intensive treatment

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to inmates with acute needs when a crisis cell--which is

designed for short-term stays--proves insufficient.                             In

addition, inmates with the most serious mental-health

needs for whom even these inpatient units have been

unsuccessful       may     be     referred        for     hospital-level

treatment, which is currently provided via 14 beds at

Citizens Baptist Medical Center in Talladega.

     The provision of hospital-level care appears to have

improved since the time of the liability trial.                                The

plaintiffs       agree    that    the    14   beds       ADOC       currently

maintains    at    Citizens      are    adequate    for       the    system’s

mental-health caseload.           It is no longer true that ADOC

“virtually never transfers patients to hospitals, except

in   the   case    of    prisoners      nearing    the    end       of    their

sentence,” as the court found in the liability opinion.

Braggs, 257 F. Supp. 3d at 1217. That said, some problems

with timely access to hospital-level care remain.                         After

Tommy McConathy was raped on the RTU, a mental-health

provider    reported      that    he     would     be    considered            for

referral    to    Citizens,      but    McConathy       did    not       get    to

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Citizens for more than a month after that.                    See Pls. Ex.

3312 at 4.       A prisoner whom the parties called M.H.,

after a series of incidents of serious self-harm and

unsuccessful treatment in RTU and SU settings, still

waited 10 days after a referral to Citizens before he was

sent to the hospital.         See May 25, 2021, R.D. Trial Tr.

at 43-44.

       The status of the inpatient units within ADOC is

somewhat more problematic.            The court found in its May

2020    remedial   opinion     on    inpatient         treatment,     which

included    PLRA    findings,       that       there    was    an   “expert

consensus” that ADOC needed residential treatment beds

sufficient    to   accommodate       15    %    of     the   mental-health

caseload.     Braggs v. Dunn, No. 2:14cv601-MHT, 2020 WL

2789880, at *4 (M.D. Ala. May 29, 2020) (Thompson, J.).

The court further found that the necessary number of beds

could not be based on the “current identified need for

inpatient treatment,” because doing so “encourages ADOC

to continue to under-identify the need and underutilize

its mental-health units to avoid creating more beds.”

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Id. at *8.    At the time, ADOC had 446 inpatient beds for

men and 58 inpatient beds for women, enough to cover only

12.6 % of the male caseload and 9.5 % of the female

caseload.     See id.      But even with that shortfall, many

of the inpatient beds remained unfilled, indicating that

ADOC was continuing to fail to identify people who needed

inpatient levels of care.          See id.

    Little has changed in this regard since the court’s

May 2020 inpatient treatment opinion.                 At the end of

March 2021, a Wexford report found that ADOC had a total

of 433 inpatient beds between its men’s and women’s

facilities, including totals of 391 RTU beds and 42 SU

beds.    See Defs.’ Ex. 4079 at 43-44.                 Adding the 14

hospital    beds   at    Citizens     brings    ADOC’s     residential

treatment capacity to 447 beds, a significant decrease

from the number of beds available at the time of the

court’s inpatient treatment opinion.              These beds remain

underutilized as well; only 30 SU beds and 346 RTU beds

were occupied at the end of March 2021, according to the

Wexford report.      See id.

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    This decline in treatment beds does not reflect an

equivalent decline in the mental-health caseload.                 To the

contrary: In March 2021, the mental-health caseload stood

at 4,564, meaning that ADOC now has inpatient beds for

less than 10 % of its caseload.           See id. at 42.       With the

anticipated     rise    in   admissions      in   the   wake    of    the

COVID-19 pandemic, this deficit is likely to grow even

more severe.13


    13. During the litigation leading up to the court’s
inpatient treatment opinion, the defendants maintained
that structured living unit (SLU) beds should be counted
toward the inpatient total. See Braggs, 2020 WL 2789880,
at *7.   Because the SLU is an “outpatient unit” that
serves “as an alternative to segregation for inmates with
serious mental illness,” and because prisoners needing
inpatient-level care are prohibited from being housed in
the SLU, the court rejected this argument.     Id. at *9
(emphasis in original).     Notwithstanding the court’s
resolution of this issue, the defendants pressed it again
in the omnibus remedial hearings, this time by
misrepresenting the testimony of their expert Dr. Metzner
to suggest that he agreed that these units should be
counted toward the inpatient total. See, e.g., Defs.’
Post-Trial Br. at 109-10. But Metzner’s testimony was
clear: He opined that, while the SLUs are not inpatient
units now and should not be counted as such, he believed
that converting some or all of those units to inpatient
treatment spaces and finding an alternative site for
outpatient diversionary unit might be the best way for
ADOC to meet the inpatient bed requirements. See July
1, 2021, R.D. Trial Tr. at 130-34.       Metzner did not
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    Even for inmates who need inpatient treatment and

are lucky enough to be identified as such and placed in

one of ADOC’s available beds, there remains the problem

of temperature regulation.             In its May 2020 remedial

opinion,    the    court    found    that     ADOC   had       failed   to

adequately regulate the temperatures of its inpatient

treatment units.         See Braggs 2020 WL 2789880, at *14.

High temperatures in inpatient treatment units pose a

significant threat to inmates’ safety, because nearly 100

% of inmates in mental-health units take psychotropic

medications, which thwart the body’s ability to regulate

its own temperature and prevent inmates from realizing

when they are overheating and seeking help.                    To ensure

that ADOC did not needlessly subject inmates to risk of

heat stroke, heat prostration, and hyperthermia, the

court   ordered    the     defendants    to   “devise      a    plan    and




testify either that the SLUs currently help fulfill
ADOC’s need for inpatient beds or that those units could
be double-counted as both inpatient units and outpatient
diversionary units, as the defendants seek to do. See
id.
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procedures to address the serious risk posed by high

temperatures in the mental-health inmates.”                  Id. at 15.

    In July 2020, the defendants reported that ADOC had

completed     installation         of      HVAC     systems        in     all

mental-health treatment units, thereby eliminating the

need for any remedial order addressing the issue.                         See

Response to Phase 2A Order of Inpatient Treatment (Doc.

2880) at 5–6.         On December 7, 2020, however, Tommy Lee

Rutledge died of hyperthermia in the Donaldson RTU.                       The

temperature in his cell was between 101 and 104 degrees.

See May 25, 2021, R.D. Trial Tr. at 144–45.                      Rutledge’s

death    makes   it    abundantly        clear    that     ADOC    has    not

adequately addressed the problem of heat management.

    Accordingly, the court finds that while the provision

of hospital-level care has improved since the liability

trial,     problems       remain        with      timely     access        to

hospital-level care, the number of inpatient beds in ADOC

facilities    remains     inadequate        to    meet     the    needs    of

mentally ill prisoners in ADOC custody, and ADOC has

failed to mitigate the risk of overheating.

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     One significant deficiency found by the court in its

liability opinion does appear to have been corrected,

however: The evidence does not show that segregation

inmates without mental illness are currently being housed

in ADOC’s inpatient units.               The department is to be

commended for fixing this “persistent and long-standing

practice.”      Braggs, 257 F. Supp. 3d at 1212.



                             12. Discipline

     ADOC has taken strides since the liability opinion

to   avoid     disciplining       prisoners       for    engaging      in

self-harm.      In January 2020, ADOC removed from its list

of   infractions       the   so-called    Rule    505    violation     it

previously used to discipline inmates for self-injurious

behavior.      See June 14, 2021, R.D. Trial Tr. at 32.               The

defendants      also    assert,    and    the    plaintiffs     do    not

dispute, that ADOC also expunged Rule 505 violations from

the records of inmates on the mental-health caseload and

those   with    a   serious    mental    illness    or   intellectual

disability.      See Joint Stipulation (Doc. 3288) at 9-10.

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      Where ADOC’s disciplinary process continues to fall

grievously       short,         however,      is     in     the     area   of

mental-health consultations to the disciplinary process

to    ensure   that       an    inmate’s     mental-health         needs   and

contraindications              are    considered          when      assigning

punishment          for     misconduct.             After        correctional

understaffing, this appears to be one of the remedial

area where the least progress has been made since the

liability opinion.

      As Mr. Vail credibly testified, based on his review

of     several        hundred         disciplinary          reports,       the

mental-health consultations provided to hearing officers

are wholly useless in almost all cases.                       Regardless of

the   prisoner’s          circumstances      or    mental-health        needs,

hearing officers receive superficial, check-box forms

almost    uniformly            indicating     that    the     prisoner      is

competent      to    take      part   in    the    hearing,      that   mental

illness didn’t affect his or her behavior, that there is

nothing to consider with regard to mental-health when

meting out punishment, and that the mental-health staff

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member will not be present for the hearing.                See May 27,

R.D. Trial Tr. at 10.          The forms frequently display an

error code in the space provided for the consultant to

indicate whether the prisoner is on the mental-health

caseload. See, e.g., Pls.’ Ex. 2953 at ADOC492463. There

is no box on the form for the consultant to indicate

whether the inmate has a serious mental illness.                See id.

Across    the    hundreds      of    disciplinary       reports     Vail

reviewed, he found only eight that included any comment

on the inmate’s mental-health beyond a notation that

there were no mental-health issues to consider.                 See May

26, 2021, R.D. Trial Tr. at 209-10.

    As the court once said of periodic mental-health

evaluations in segregation, these consultations are not

“worth the paper they are written on.”                Braggs, 367 F.

Supp. 3d at 1350.       This is true even in cases where the

prisoner has serious mental-health needs that cry out for

consideration.      For example, the consultation to Jaquel

Alexander’s disciplinary proceeding in April 2020, after

he attempted to jump the fence at Ventress, was as useless

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as most others: It listed an error code where it should

have indicated that he was on the mental-health caseload;

it   said   that     his    behavior      was      unrelated     to    any

mental-health issues; it declared that nothing related

to mental-health need be considered in determining his

sentence;    and    it   informed     the     hearing     officer     that

mental-health staff would not be present for the hearing.

See Pls. Ex. 3296 at ADOC517817.              Although by that time

Alexander    had    been   diagnosed        with   a   serious     mental

illness, no indication that he had an SMI appeared on the

consultation.      See id.      With no information to suggest

that a restrictive housing placement might be harmful to

Alexander, the hearing officer sentenced him to 45 days

in   segregation,     where    he    hanged     himself    three      weeks

later.

     This will not do.         Based on the evidence presented

at the omnibus remedial hearings, the court finds that

ADOC’s system of mental-health consultations is still

extraordinarily          dysfunctional,            with        egregious

consequences for inmates with mental-health needs.                      See

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Braggs, 257 F. Supp. 3d at 1234. The consultations remain

“little more than a rubber stamp” for the disciplinary

process.      Id.   The dysfunction of this system continues

to   expose    mentally     ill    inmates     facing     disciplinary

proceedings to serious harm.



                            13. Training

     Finally, it appears that the issue of training could

be largely a success story.             The evidence presented at

the omnibus remedial hearings suggested that ADOC has

taken real steps forward in its implementation of the

trainings     previously     developed       by   experts     for   both

parties.      Dr. Burns testified that ADOC has implemented

the comprehensive mental-health training, the suicide

prevention      training,      the      suicide    risk     assessment

training, and several other training curriculums that it

was ordered to conduct, and that current and newly hired

staff appear to receive these trainings.                  See June 22,

2021, R.D. Trial Tr. at 48, 50-51, 53-55; June 23, 2021,

R.D. Trial Tr. at 225-26.

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      There are admittedly still some reasons for concern.

In deposition testimony, Cheryl Price, ADOC’s Assistant

Deputy Commissioner for Operations, said that she herself

had not received the comprehensive mental-health training

and that she did not know if the training had been

provided    to   all   staff    members     who    were   required     to

receive it.      See June 1, 2021, R.D. Trial Tr. at 42.

Under the stipulated remedial orders currently in effect,

all staff who have any direct contact with inmates are

required to receive this training.                See Phase 2A Order

and   Injunction       on   Mental-Health         Identification      and

Classification Remedy, Attachment A (Doc. 1821-1) at

§ 1.1.   That order has been in place for more than three

years; that Price had not received this training and did

not know who still needed to receive it gives cause for

concern about the extent to which training is provided.

      Similarly, a March 2021 spot audit of Ventress noted

that the facility’s site program manager “would benefit

from training on the Suicide Risk Assessment.”                 Pls. Ex.

3626 at ADOC565532.          As Dr. Burns credibly testified,

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this is “somewhat worrisome because that person will be

overseeing the other people and kind of setting the

tone.”    May 26, 2021, R.D. Trial Tr. at 137-38; see also

id. at 54 (explaining that site program managers are “in

charge of mental-health services at a given facility”).

The evidence also raised questions about the current

sufficiency of ADOC’s emergency preparedness drills for

suicide     prevention;      several     psychological        autopsies

following      recent   suicides     recommended       that    training

should    be   reinforced      through     emergency     preparedness

drills, also known as “man-down” drills.                 See Pls. Ex.

3295 at ADOC518575; Pls. Ex. 3302 at ADOC518581; see also

Pls. Ex. 3263 at 83 (December 2019 audit of Donaldson

indicating that the audit team recommended Wexford “begin

planning and implementing man-down drills”).

    More broadly, documentation of trainings has been a

significant challenge.         Wexford acknowledged as much in

a March 2020 letter to the former Associate Commissioner

of Health Services.        See Pls. Ex. 3323 at 5.            According

to Wexford, “a lack of time and resources” placed it in

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a position where it was able to train its staff but unable

to document this training.                 See id. (emphasis omitted).

This lack of documentation creates serious problems for

the tracking and monitoring of training, and it must be

corrected;       without       reliable         documentation,     ADOC    and

Wexford    run    the     risk     that     individuals      who   have    not

received necessary training will fly under the radar

until after prisoners are harmed.

    The    trainings          at   issue    are    too   important    to    go

undocumented;          they    are    foundational        to   the    proper

function   of     ADOC’s       system      of    mental-health     care    and

critical to prepare staff to make decisions in what could

be life-or-death situations.                    For some trainings, the

connection        is     immediately             apparent:         Emergency

preparedness drills are necessary to prepare staff to

intervene in suicide attempts and take life-saving action

in a moment when every second counts.                    See June 4, 2021,

R.D. Trial Tr. at 64-65.              Other trainings are necessary

to minimize the risk that mentally ill prisoners ever

reach this point.         Comprehensive mental-health training,

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suicide prevention training, and suicide risk assessment

training      all    operate   to    instruct     staff      to    recognize

prisoners’ mental-health needs in order to facilitate a

response      that    is    proportionate        to   the     urgency       and

severity of those needs.             See id. at 22-23, 54-55, 57.

Recent failures to respond appropriately to indicators

of current mental-health needs, particularly signs of

possible suicidality, reflect an ongoing need for this

training to be received and reinforced.                     See, e.g., May

24,   2021,    R.D.    Trial   Tr.    at    66   (the       day    before    he

committed suicide, Jaquel Alexander was not placed on

suicide watch after he verbalized suicide ideation); id.

at 44-45 (Laramie Avery was not placed on suicide watch

or diverted from segregation after he twice stated that

he did not have much to live for).               In light of the need

for training to provide a stable foundation for the

provision of mental-health care across all other areas

of    liability,      the   court    will    order      a    few    remedial

provisions in this area, most notably with regard to

documentation.         But for the most part, the court finds

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the evidence presented at the omnibus remedial hearings

encouraging.



     D.    Failure to Comply with Orders and Policies

    The defendants argue that ADOC staff should be given

broad discretion to determine how best to bring the

system    into    constitutional        compliance.         The       court

recognizes the importance, both under the PLRA and in

ensuring that relief is practical, of deferring to those

who know the system best and building flexibility into

the remedy.      However, in certain areas, the plaintiffs

have presented compelling evidence of years of ongoing

constitutional violations and ADOC’s failure to make any

progress towards compliance.            In those areas, the court

cannot    risk    leaving      unfettered      discretion        to    the

department.       Experience      has   proven    that    ADOC    either

cannot or will not take the steps necessary to improve

in these areas, a history that demands that the court

enter more intrusive relief.



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    The relevant question in considering whether relief

ordered under the PLRA is overly intrusive is “whether

the same vindication of federal rights could have been

achieved with less involvement by the court in directing

the details of defendants’ operations.”                   Armstrong v.

Schwarzenegger, 622 F.3d 1058, 1071 (9th Cir. 2010).

That a defendant has previously failed to comply with its

own policies, or with the court’s orders, may indicate

that the answer is no.

    ADOC has a long history of failing to comply with

the remedial orders in this case.                     In the liability

opinion,    the    court     noted      that    the     department     had

demonstrated deliberate indifference to the state of its

mental-health      care    system    for       years,    “in   spite    of

countless reports, emails, and internal documents putting

ADOC on notice of the actual harm and substantial risks

of serious harm posed by the identified inadequacies in

mental-health care.”         Braggs, 257 F. Supp. 3d at 1256.

Indeed, ADOC failed to act to improve its provision of

mental-health care until directly prompted by the court,

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even while claiming credit for actions it had not taken.

During       the     course        of   the     liability        trial,      the

then-Associate Commissioner of Health Services claimed

that    “a    new    mental-health         coding      system    prohibiting

placement       of     seriously        mentally       ill    prisoners       in

segregation was in the middle of a roll-out at the time

of    her    testimony       in    December     2016.”        Id.    at   1262.

However,        this       turned        out     to      be     untrue--"her

representation was disputed by the testimony of two of

her colleagues, who explained that [the Office of Health

Services]       moved      ten     mentally      ill   prisoners       out    of

segregation         into     the    Donaldson      RTU    only      after    her

testimony, and that there was no official policy change.”

Id.

       Two years later, in the suicide prevention opinion,

the     court        found        “ample       evidence”      that        ADOC’s

noncompliance continued.                Braggs v. Dunn, 383 F. Supp.

3d 1218, 1246 (M.D. Ala. 2019) (Thompson, J.). It pointed

out that ADOC had consistently failed to comply even with

the     remedial       measures         “the    defendants          agreed    to

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implement,” id. at 1278, and that it had demonstrated

“time and again” that it was unable “to ensure that its

ground-level staff comply with directives from the top,

not to mention with the orders of this court,” id.                  “The

history of this case,” the court concluded, “is replete

with evidence of directives given and corrective action

plans   created     that    have   been    doomed     to   irrelevance

because   of    a   lack    of   follow-through       to   ensure     the

directives were obeyed and the plans put into action.”

Id.

      These failures have continued through the omnibus

remedial hearings.         Indeed, the defendants’ own witness,

Meg Savage, testified to what the court considers one of

their more egregious failures:            she explained that in the

three years that had passed since the court had ordered

the defendants to establish an agency staffing unit, they

had taken no steps whatsoever toward doing so, despite

the fact that without the agency staffing unit, the

defendants could not determine the number of correctional

staff positions currently needed for ADOC’s facilities

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to operate safely--a necessary precondition for hiring

sufficient staff.       See June 16, 2021, R.D. Trial Tr. at

9-14.

In   other   areas,     too,    ADOC    has    declined     to   remedy

shortcomings of which it was plainly aware. Dr. Burns

identified a number of recommendations made prior to the

suicide prevention hearing that were repeated nearly

verbatim in the most recent reviews. And even with regard

to the earliest psychological autopsies, she testified

that there was no indication that ADOC had incorporated

their recommendations into its subsequent practice or,

indeed, made any effort to do so.             See May 24, 2021, R.D.

Trial Tr. at 199.14


    14. While the court does not rely on ADOC’s
decades-long history of inadequate mental-health care to
support the need for relief in this case, that history
is nevertheless noteworthy. As the court documented in
its previous monitoring opinion, see Braggs, 483 F. Supp.
3d 1136, 1171-72 (M.D. Ala. 2020) (Thompson, J.), ADOC’s
mental-health care was found by a district court to be
constitutionally inadequate all the way back in 1972.
See Newman v. Alabama, 349 F. Supp. 278, 284 (M.D. Ala.
1972) (Johnson, C.J.), vacated in part on other grounds,
Newman v. Alabama, 522 F.2d 71 (5th Cir. 1975) (“The
large majority of mentally disturbed prisoners receive
no treatment whatsoever. It is tautological that such
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    The cumulative result of all these failures, as the

court made clear during the omnibus remedial hearing, is

that the court is unable to rely on ADOC’s willingness

and ability to self-correct.             See June 29, 2021, R.D.




care is constitutionally inadequate”).     In a separate
decision four years later, the court lamented that
“nothing ha[d] been done” to address the identified
deficiencies and that ADOC continued to violate the
Eighth Amendment by failing to provide adequate
mental-health care. See Pugh v. Locke, 406 F. Supp. 318,
324 (M.D. Ala. 1976) (Johnson, C.J.), aff’d and remanded
sub nom. Newman v. Alabama, 559 F.2d 283 (5th Cir. 1977),
cert. granted in part, judgment rev’d in part on other
grounds, and remanded sub nom., Alabama v. Pugh, 438 U.S.
781 (1978).    In 1979, the district court again found
that, despite monitoring, “nothing ha[d] been done to
correct   the   situation”  and   placed   ADOC  into   a
receivership that lasted until 1988. Newman v. State of
Ala., 466 F. Supp. 628, 631 (M.D. Ala. 1979) (Johnson,
C.J.).    Just four years after the court’s oversight
terminated, however, yet another complaint was filed
alleging that the conditions for mentally ill inmates in
ADOC’s custody had deteriorated to the point of
unconstitutionality. See Complaint (Doc. 1), Bradley v.
Haley, No. 2:92cv70-WHA (M.D. Ala. 1992) (Albritton, J.).
And though by the end of monitoring in that case, the
monitor concluded that ADOC had achieved “remarkable”
progress, see Bradley Final Monitoring Report (Doc. 2133-
3) at 1, 4, 6, Braggs v. Dunn, No. 14cv601-MHT (M.D. Ala.
2018) (Thompson, J.), the court in this case identified
deficiencies in nine of the 11 areas in which ADOC had
been found by the Bradley monitor to have improved. See
generally Braggs, 257 F. Supp. 3d at 1171.
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Trial Tr. at 133.      Instead, for at least those areas that

remain the most problematic, the court finds it necessary

to order more detailed and specific provisions.                  As the

court said before, paraphrasing Dr. Burns’s testimony,

such specificity is necessary “when you’re dealing with

a gross failure to comply or failure to comply over a

long period of time.”         June 2, 2021, R.D. Trial Tr. at

181.

       Similarly, the court finds that provisions requiring

documentation are particularly important in light of the

longstanding     nature     of    ADOC’s     noncompliance.           The

defendants have argued that some of the deficiencies that

the court identified may well have been “documentation

issue[s]” rather than failures to comply.              June 29, 2021,

R.D. Trial Tr. at 96.            As both Dr. Burns and Mr. Vail

have explained, however, “in corrections, if you didn’t

write it down, it didn’t occur.”                May 27, 2021, R.D.

Trial Tr. at 121-22; see also May 24, 2021, R.D. Trial

Tr. at 102.     If ADOC really is making progress, adequate



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documentation is necessary for it to get credit for its

improvement.

    The history of this case also demonstrates that there

is a disconnect between policies that are implemented at

a system-wide level and what is actually happening on the

ground in ADOC facilities.              Indeed, the court at one

point described ADOC’s failure to comply not only with

the court’s directives, but with its own policies, as “a

severe, ongoing dysfunction in the system.”                Braggs, 257

F. Supp. Ed at 1264.       To give just one example:           in March

2019, ADOC Deputy Commissioner Charles Daniels announced

a directive generally prohibiting the release of inmates

from suicide watch directly to segregation, see Braggs

383 F. Supp. 3d 1218, 1273 (M.D. Ala. 2019) (Thompson,

J.), yet a mental-health provider later reported to an

auditor at Ventress Correctional Facility that inmates

were sent to suicide watch to segregation “as a matter

of course.”     Pls.’ Ex. 3320 at 1.

    Adequate documentation is necessary to correct this

disconnect.     As Vail testified, “documentation provides

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for accountability.”        June 1, 2021, R.D. Trial Tr. at 46.

“[I]f you’re trying to figure out if ADOC is making

progress,” it is vital that you have records of the

actions that were taken and decisions that were made,

when, and by whom.       Id.    Without adequate documentation,

the court believes that the department will continue to

struggle to ensure that remedies are being successfully

implemented.

    Finally, ADOC’s persistent shortage of correctional

staff raises doubts as to whether it is capable of

implementing relief in multiple areas simultaneously,

thereby heightening the need for thorough documentation.

ADOC’s    shortage     of     staff     has    reduced     it      and   its

mental-health        vendor      to      a     constant         state     of

‘robbing-Peter-to-pay-Paul’             borrowing;       to      implement

relief in one area, it must divert staff from another,

all with the goal of triaging--that is, maximizing the

number of surviving inmates.                 As Wexford explained to

ADOC,    when   it   “had      resources       available      to    conduct

training--but not enough to document the training--we

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went ahead and trained anyway, prioritizing educated,

competent staff above recordkeeping.”                     March 2, 2020,

letter from Wexford to ADOC (P-3323) at 5.                     Similarly,

in order to provide adequate crisis monitoring, Wexford

diverted    staff    from      other      tasks,      “disrupt[ing]      all

routine mental-health caseload activities to address the

immediate and more serious needs of inmates in crisis.”

Id. at 3.    Given this history, the court is concerned as

to whether ADOC can sustain the progress it has made in

certain areas while also implementing the court’s orders

designed to address deficiencies in other areas. In other

words, it is simply not enough for ADOC to say that it

has   achieved     compliance       in     one   area;       the    critical

question,    as   stated,      is   whether      it    can    achieve    and

sustain     adequate          compliance         in       various      areas

simultaneously.         The    history      of     this    case     strongly

suggests    that,     because       of    longstanding        and     severe

understaffing, it cannot.              Documentation may therefore

be necessary even in areas where ADOC has made the most



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progress, so as to ensure that that progress does not

erode once ADOC turns its attention to other matters.




                          E.        Timeframes

      Closely related to the defendants’ request for broad

discretion is the issue of timeframes.                   In a number of

areas of liability, one or both of the parties propose

provisions requiring that certain actions be taken within

definite timeframes.         The court rejects these proposals

in many instances, even when they come from both parties.

In a few instances, however, it does adopt specific

timeframes.     While     the        provisions     containing     these

timeframes     may be more intrusive than ones with more

open-ended    language,      such      as   “as   soon   as    possible,”

“within a reasonable timeframe,” or indeed no temporal

restriction at all, the court finds them to be necessary,

narrowly tailored, and the least intrusive means that

will correct the constitutional violation at issue.

      Numerous factors support the court’s finding that

the    few   provisions        it     orders      containing    specific
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timeframes      are     necessary,        narrowly      tailored,      and

minimally intrusive.

       First,   most,    if   not    all,    of   the   provisions       in

question are adopted from interim orders to which the

defendants have previously agreed and, in some cases,

which the defendants again propose in their proposed

remedial order.         “[W]here ... the provisions of relief

ordered by a court are adopted from an agreement jointly

drafted and reached by the parties, it is compelling

evidence    that   the    provisions        comply   with      the   needs-

narrowness-intrusiveness criteria.” Braggs, 383 F. Supp.

3d at 1253.      The fact that the defendants had a hand in

drafting and fashioning the language of a provision when

it was stipulated, while not dispositive, is certainly

an indicator that the provision is necessary, narrowly

tailored, and minimally intrusive.

       Second, although the defendants maintain that these

provisions are no longer necessary, evidence of current

conditions reflects that the defendants have not complied

with    these   provisions     consistently.            Many    prisoners

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continue     not   to   receive    care       within   the   timeframes

required by court order and ADOC’s own policies.                 ADOC’s

failures to comply with these provisions while ordered

to do so is significant evidence that these failures

would continue in the absence of an order.                Moreover, as

explained above, ADOC’s severe shortage of correctional

staff has hampered its ability to implement and sustain

relief in multiple areas at the same time.                   Therefore,

even assuming that ADOC were to improve the timeliness

of its responses in certain areas, the question would

remain as to whether it could sustain that progress while

making     improvements     in    other       areas    despite   severe

staffing           shortages.                No        resort          to

‘robbing-Peter-to-pay-Paul.’

     Third, credible expert testimony offered by either

or both sides underscores the necessity of compliance

with these provisions and ties ADOC’s observed failures

to   apply    these     provisions      to    substantial     harms    to

prisoners with mental illness and to the constitutional

violations that the court has found.

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       In sum, where the court orders that the defendants

must comply with specific timeframes, it does so only

after careful consideration of the history of this case,

evidence    of    ADOC’s     recent   practices,          and   the   expert

testimony of both sides and a determination that no less

intrusive means would be sufficient to redress ADOC’s

constitutional          violations.            Moreover,        the    court

anticipates that its specification of these timeframes

will    allow    the     defendants      to    obtain      relaxation      or

termination of the ordered provisions earlier than it

would otherwise.            This is for two reasons.              First, a

specific timeframe better enables the monitoring team to

determine whether ADOC is in compliance with a given

provision, and makes it more difficult for the plaintiffs

to dispute compliance.           If the compliance team is able

to     report    with    reasonable      certainty         that   ADOC     is

compliant       with    a    provision        and   can     sustain      that

compliance, the court will, upon request, take up the

issue immediately. Second, a specific timeframe provides

clear notice to the defendants of what, exactly, is

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required of them, thereby ensuring that there will be no

period during which ADOC struggles to determine what

constitutes     a    reasonable     amount    of    time    for   taking

required action, and no possibility that it will be

caught unaware by a determination by the EMT that it is

out of compliance with the provision.                   Moving forward,

the clarity of these provisions will best enable the

monitoring team to monitor the extent of ADOC’s failures

and successes and allow the court and the parties to take

appropriate action.



                    F.   The Effects of COVID-19

     In the December 2020 opinion setting out the process

for the omnibus remedial hearings, the court noted that

it   would    consider      “the     effects       of    COVID-19”     in

determining the omnibus remedy.           Braggs, 2020 WL 7711366,

at *8.     As the court said then, the outbreak of the

COVID-19 pandemic “seized and disrupted the progress of

this suit as it has the quotidian rituals of all of our

lives,” and it was necessary to take this disruption into

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account both in the procedures by which the final remedy

for this phase of the litigation was determined and in

the substance of that remedy.              Id. at *3.           The court

recognized that the pandemic had not only affected the

litigation history leading up to these proceedings, but

also had the potential to affect the appropriate scope

of relief or to require certain temporary alterations of

the remedy during the course of the pandemic.

    In practice, COVID-19 had two principal effects on

the omnibus remedial proceedings themselves, both of

which created complicated evidentiary issues related to

the court’s consideration of whether particular proposed

remedial     provisions       were      necessary       under     current

conditions.     The first was a problem with the discovery

of evidence for the proceedings.                  Because of ADOC’s

concerns     about    the    transmission        risk     involved     in

conducting     site    visits     and    inmate     interviews,       the

plaintiffs’ expert Dr. Burns was sharply limited in the

extent to which she could conduct these forms of evidence

gathering.     By agreement of the parties, Burns was the

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only plaintiffs’ expert permitted to conduct site visits,

and she was limited to visiting four facilities for short

periods of time: up to eight hours each at Donaldson and

Bullock, and generally up to four hours each at St. Clair

and Tutwiler.      See Joint Discovery Plan (Doc. 3098) at

2-3; Facility Inspection and Inmate Interview Protocol

(Doc. 3098-1) at 1.           While on-site, the only inmate

interviews      permitted      were      three-     or     five-minute

cell-front     interviews       through        a   cell    door     with

appropriate social distancing, although Burns was allowed

to identify prisoners during her visits for follow-up

interviews by videoconference.             See Facility Inspection

and Inmate Interview Protocol (Doc. 3098-1) at 2-4.

    The defendants argued, and their expert Dr. Metzner

testified, that, through no fault of Dr. Burns, these

limitations     precluded      her      from   developing      credible

opinions about the provision of mental-health care across

the ADOC system, which Metzner said he believed required,

among other things, three-day site visits.                 See July 1,

2021, R.D. Trial Tr. at 43.          Given the particular history

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of this litigation, the court disagrees; indeed, it found

Burns’s     testimony         generally         credible        and       reliable,

including       her     opinions         regarding       the     provision       of

mental-health         care    in    ADOC       facilities       on    a    systemic

level.    That is because the evidentiary record of this

case was not a tabula rasa when the omnibus hearings

began.      The       court    found       long-standing         and      systemic

deficiencies in its liability opinion, and it reaffirmed

in various subsequent remedial opinions that many of

these problems continued to exist.                        On top of those

persistent deficiencies, as discussed above, there is the

alarming history of ADOC’s failure to follow the court’s

orders    and     its    own       policies      and    regulations.            The

recurrence of these same system-wide problems in the

facilities Burns visited and the records of the prisoners

she interviewed amounted to compelling evidence that

these    issues       continue      to    plague       ADOC’s    provision       of

mental-health          care.          The       fact    that         correctional

understaffing “permeate[s]” the inadequacies in ADOC’s

mental-health care system and continues to be a grave

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problem    at   every   major    facility       except   Tutwiler     and

Hamilton further supported the credibility of Burns’s

opinions    that    the    deficiencies         she   witnessed     were

emblematic rather than isolated.                Braggs, 257 F. Supp.

3d at 1268.

    The second evidentiary problem that the COVID-19

pandemic caused had to do with the question of what

evidence     was    most     helpful      for     understanding       how

conditions in ADOC facilities will change as the pandemic

wanes.     Since March or April 2020, ADOC, like many

institutions, has been operating in some ways rather

differently from what it did before.             For instance, group

therapy sessions and face-to-face counseling became more

complicated to conduct safely, and they may have been all

but impossible in the early stages of the pandemic when

little was known about the virus and the availability of

vaccines was a distant hope.            But pre-pandemic evidence,

at this juncture, is increasingly out of date: several

of the ADOC Office of Health Services’ facility-wide

audits, which the plaintiffs argued need updating because

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of the amount of time that has passed, were conducted in

late 2019.       See, e.g., Pls. Ex. 3271 (Kilby OHS Audit

from November 2019).       In other words, the court faced the

question of how to assess current conditions given that

nearly the last year-and-a-half were conditions under

COVID-19.

    That is a question without an easy answer.                The court

therefore adopted what it believed to be a reasonable

approach.       As to a given remedial area, when conditions

during the pandemic appeared similar to the conditions

that existed before the outbreak of COVID-19, the court

took recent conditions as indicating how that aspect of

ADOC’s mental-health care is likely to operate in the

future.     But when conditions appeared to have worsened

during    the     pandemic,      the     court   considered     whether

pre-pandemic conditions suggested that the worsening was

due to COVID-19, and if so whether the problem would

likely    be    resolved    as    the     pandemic   wanes.        As      a

hypothetical example, the court would be hesitant to find

that the provision of individual counseling remained

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deficient      based     solely    on    evidence       that     counseling

sessions were inconsistently provided in November 2020

without       evidence     that        they     were      also     provided

inconsistently in November 2019.                  This hesitancy gave

appropriate         flexibility    and        deference     to    ADOC     in

responding to the exceptional threat that the COVID-19

pandemic posed to prison inmates and staff.

      That    said,    this   flexibility        has    certain     limits.

COVID-19 does not grant ADOC carte blanche to provide

inadequate mental-health care for the duration of the

pandemic.      The Eighth Amendment does not have a force

majeure      clause.      Events       since    March     2020    have    not

lessened the mental-health needs of prisoners in ADOC’s

custody; indeed, the stress and uncertainty caused by the

pandemic have likely heightened those needs.                     Though it

may   be     more    difficult    to    provide     certain       kinds    of

mental-health treatment under such conditions, a prison

system could not constitutionally pause such treatment

for the length of the pandemic, which has now lasted well



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over a year and which has no end clearly in sight.15 Thus,

while the weight given to evidence of conditions during

the pandemic varied depending on how those conditions

compared to pre-pandemic mental-health care in the ADOC

system, the court in all instances looked to the totality

of   the      evidence--including           evidence       of    recent

conditions--to       determine       whether       each     particular

remedial     provision       was     necessary       under      current

circumstances.

                                   ***

     This concludes the second part of the court’s omnibus

remedial opinion.       One part follows.

     DONE, this the 27th day of December, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




    15. For similar reasons, the court declined to adopt
the defendants’ request that it grant the monitoring team
power to waive remedial provisions during a pandemic or
similar   unforeseen   circumstances.      Instead,   the
difficulties posed by these circumstances should be taken
into account when assessing ADOC’s compliance with these
provisions and whether any non-compliance under such
conditions requires further remedial action.
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